       Case 1:21-cr-00670-CJN Document 58 Filed 04/15/22 Page 1 of 62




                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     :
UNITED STATES OF AMERICA             :
                                     :    Criminal No. 21-670 (CJN)
                                     :
v.                                   :
                                     :
STEPHEN K. BANNON,                   :
                                     :
            Defendant.               :
____________________________________:

                   MOTION TO DISMISS THE INDICTMENT
           Case 1:21-cr-00670-CJN Document 58 Filed 04/15/22 Page 2 of 62




                                           TABLE OF CONTENTS


TABLE OF AUTHORITIES .............................................................................................. iii
I.       BACKGROUND ...................................................................................................... 2
II.      THE SUBPOENA WAS NOT LAWFULLY ISSUED ........................................... 2
         A.       The Composition of the Select Committee Invalidates the Subpoena .......... 4

         B.       The Select Committee Exceeded Its Subpoena Authority – By
                  Violating Rules Which Mandate Ranking Minority Member
                  Consultation and Providing Protective Rules to the Deponent ..................... 5

                  1.        Limits on Subpoena and Deposition Authority .................................. 6

                  2.        The Select Committee Has No Ranking Minority Member .............. 9

         C.       The Subpoena was a Misguided and Unconstitutional Effort to Make
                  an Example of Mr. Bannon ......................................................................... 12

         D.       Count II Must be Dismissed Because the Select Committee Has No
                  Authority to Compel Production of a Privilege Log or Certification ......... 14

III.     THIS PROSECUTION VIOLATES DUE PROCESS .......................................... 16
         A.       Mr. Bannon Relied on Official, Binding, Authoritative DOJ Policy .......... 17

         B.       OLC Opinions are Binding, Authoritative Statements Reflecting the
                  Official Policy of the Department of Justice ............................................... 22

         C.       This Prosecution is Barrd by the Doctrines of Entrapment by
                  Estoppel, Actual Public Authority, and Apparent Public Authority ........... 27

                  1.        Entrapment by Estoppel ................................................................... 32

                  2.        Public Authority ............................................................................... 35

                            a. Actual Authority ........................................................................... 34

                            b. Apparent Authority ...................................................................... 35

         D.       The Government Should Be Estopped from Prosecuting This Case .......... 37




                                                              i
          Case 1:21-cr-00670-CJN Document 58 Filed 04/15/22 Page 3 of 62




 IV.     2 U.S.C. § 192 IS UNCONSTITUTIONAL AS APPLIED TO THE FACTS OF
        THIS CASE ............................................................................................................ 39
        A.        Statutory Interpretation Problems ............................................................... 42

        B.        2 U.S.C. § 192 as Applied Violates the Separation of Powers
                  Doctrine, is Unconstitutional, Over Broad, and is Void for
                  Vagueness .................................................................................................... 43

                  1.        The Statute as Applied Violates the Constitutional Separation
                            of Powers Doctrine ........................................................................... 43

                  2.        The Statute as Applied is Unconsitutionally Overbroad and
                            Void for Vagueness .......................................................................... 44

  VI.     PROSECUTORIAL OVER-REACHING REQUIRES DISMISSAL OF THE
        INDICTMENT ....................................................................................................... 48
        A.        Targeting Mr. Bannon’s Counsel Requires Dismissal ................................ 48

        B.        Misleading the Grand Jury Requires Dismissal .......................................... 52

VI.     CONCLUSION ...................................................................................................... 53




                                                               ii
             Case 1:21-cr-00670-CJN Document 58 Filed 04/15/22 Page 4 of 62




                                              TABLE OF AUTHORITIES

CASES
Ansara v. Eastland,
  442 F.2d 751 (D.C.Cir.1971) .................................................................................................... 47

Barenblatt v. United States,
  360 U.S. 109 (1959) .................................................................................................................. 47

Boyce Motor Lines v. United States,
  342 U.S. 337, 343 n. 16 (1952) ................................................................................................... 2

Calautti v. Franklin,
 439 U.S. 379, 395 (1979) .......................................................................................................... 45

Casa de Maryland v. United States Dep’t of Homeland Sec,
  924 F.3d 684, 718 n.1 (4th Cir. 2019) ....................................................................................... 24

Cheney v. U.S. Dist. Court for Dist. of Columbia,
 542 U.S. 367, 370 (2004) .......................................................................................................... 15

*Christoffel v. United States,
  338 U.S. 84 (1949) .................................................................................................................. 2, 5

Citizens for Responsibility & Ethics in Wash. v. U.S. Dep’t of Justice,
  846 F.3d 1235, 1238 (D.C. Cir. 2017) ...................................................................................... 23

Citizens for Responsibility & Ethics in Wash. v. U.S. Dep’t of Justice,
  922 F.3d 480, 483 (D.C. Cir. 2019) .................................................................................... 23, 24

City of Chicago v. Morales,
  527 U.S. 41, 74-81 (1999) ......................................................................................................... 39

Comm. On the Judiciary of the United States House of Representatives v. McGahn,
  968 F.3d 755 (2020) .................................................................................................................. 20

*Cox v. Louisiana,
  379 U.S. 559, 575 (1965) .............................................................................................. 30, 32, 33




                                                                    iii
             Case 1:21-cr-00670-CJN Document 58 Filed 04/15/22 Page 5 of 62




Exxon Corp. v. FTC,
  589 F.2d 582, 592 (D.C. Cir. 1978) ............................................................................................ 5

I.N.S. v. Chadha,
   462 U.S. 919, 944 (1983) .................................................................................................... 15, 44

Kilbourn v. Thompson,
  103 U.S. 168 (1880), ............................................................................................................. 3, 13

Kolender v. Lawson,
  U.S. 352, 357 (1983), ................................................................................................................ 45

Lanzetta v. New Jersey,
  306 U.S. 451, 453 (1939), ......................................................................................................... 45

McGrain v. Daugherty,
 273 U.S. 135, 161 (1927) ...................................................................................................... 6, 13

*Nixon v. Adm’r of General Services,
  433 U.S. 425, 448-449 (1977) ............................................................................................. 17, 44

Nixon v. Fitzgerald,
  457 U.S. 731, 749 (1982) .......................................................................................................... 13

Nixon v. Sirica,
  487 F.2d 700 (1973) .................................................................................................................. 15

NLRB v. Sears Roebuck & Co.,
 421 U.S. 132, 153 (1975) .......................................................................................................... 24

*Raley v. State of Ohio,
  360 U.S. 423 (1959 ....................................................................................................... 32, 33, 46

Senate Select Committee on Presidential Campaign Activities v. Nixon,
  498 F.2d 725, 730 (D.C. Cir. 1974) .................................................................................... 15, 17

Setser v. United States,
  566 U.S. 231, 239 (2012) .......................................................................................................... 43




                                                                    iv
             Case 1:21-cr-00670-CJN Document 58 Filed 04/15/22 Page 6 of 62




Stirone v. United States,
   361 U.S. 212, 217 (1960) .......................................................................................................... 52

Tobin v. United States,
  306 F.2d 270, 276 (D.C.Cir.1962) ............................................................................................ 47

*Trump v. Mazars USA, LLP,
  140 S. Ct. 2019, 2031 (2020) .............................................................................. 6, 12, 13, 43, 46

Trump v. Thompson,
  20 F.4th 10, 41 (D.C. Cir. 2021) ................................................................................... 13, 17, 47

Trump v. Thompson,

   142 S. Ct. 680 (2022)…………………………………………………………………….17

United States v. Abcassis,
 45 F.3d 39 (2d Cir 1995) ........................................................................................................... 29

United States v. AT&T,
   567 F.2d 121, 127 (D.C. Cir. 1977)............................................................................................... 47

*United States v. Baker,

   438 F.3d 749 (7th Cir. 2006)…………………………………………………………………..35

United States v. Baptista-Rodriguez,
 17 F.3d 1354, 1368 n.18 (11th Cir. 1994) ................................................................................. 35

United States v. Batres-Santolino,
 521 F.Supp. 744, 750-53 (N.D. Cal. 1981) ............................................................................... 50

United States v. Barker,
 546 F.2d 940, 952 (D.C. Cir. 1976) ................................................................ ..28, 29, 30, 36, 37

United States v. Baird,
 29 F.3d 647, 654 (D.C. Cir. 1994) ............................................................................................ 36

United States v. Ballin,
 144 U.S. 1 (1892) ........................................................................................................................ 2




                                                                     v
            Case 1:21-cr-00670-CJN Document 58 Filed 04/15/22 Page 7 of 62




United States v. Ciambrone,
 601 F.2d 616, 623 (2d Cir. 1979) .............................................................................................. 53

United States v. Brown,
 381 U.S. 437, 443 (1965) .......................................................................................................... 53

*United States v. Davis,
  139 S. Ct. 2319, 2325 (2019) .................................................................................................... 45

United States v. House of Representatives,
 556 F. Supp. 150, 152-153 (D.D.C. 1983) ................................................................................ 47

United States v. Hsia,
 81 F.Supp.2d 7, 19 (D.D.C. 2000) ............................................................................................ 51

United States v. Irwin,
 612 F.2d 1182, 1187 (9th Cir. 1980) ......................................................................................... 51

United States v. Levin,
 973 F.2d 463, 468 (6th Cir. 1992) ................................................................................. 28, 29, 30

*United States v. Marshank,
  777 F. Supp. 1507, 1524 (N.D. Cal. 1991) ......................................................................... 50, 52

United States v. Miller,
 2022 U.S. Dist. LEXIS 45696, *16-*17 (D. D.C., March 7, 2022) .......................................... 42

*United States v. Nixon,
  418 U.S. 683, 708-709 (1974) ....................................................................................... 17, 42, 44

United States v. Nobles,
 422 U.S. 225, 232 (1975) .......................................................................................................... 42

United States v. Lawson,
 502 F. Supp. 158, 172 (D. Md. 1980) ....................................................................................... 53

United States v. Licavoli,
 294 F.2d 207 (D.C. Cir. 1961) .................................................................................................. 40




                                                                  vi
             Case 1:21-cr-00670-CJN Document 58 Filed 04/15/22 Page 8 of 62




United States v. Pennsylvania Industrial Chemical Corp,
 411 U.S. 655, 673-675 (1973) ....................................................................................... 29, 32, 34

United States v. Pitt,
 193 F.3d 751, 756-758 (3d Cir. 1999)....................................................................................... 35

United States v. Reyes-Vasquez,
 905 F.2d 1497, 1500 n.5 (11th Cir. 1990) ................................................................................. 35

United States v. Salerno,
 481 U.S. 739, 745 (1987) .......................................................................................................... 39

United States v. Schell,
 775 F.2d 559 (4th Cir. 1985) ............................................................................................... 51, 52

United States v. Smith,
 286 U.S. 6 (1932) ........................................................................................................................ 2

United States v. Stevens,
 569 U.S. 460, 473 (2010) .......................................................................................................... 45

United States v. Tobias,
 662 F.2d 381, 387 (5th Cir. 1981) ............................................................................................. 51

United States v. Viola,
 2017 U.S. Dist. LEXIS 117055, *7-*9; 2017 WL 3175930 (W.D. La., July 26, 2017) ........... 38

United States v. Viola,
 2017 U.S. Dist. LEXIS 117055, *7-*9; 2017 WL 3175930 (W.D. La., July 26, 2017) ........... 38

Vill. of Hoffman Estates v. Flipside, Hoffman Estates, Inc,
  455 U.S. 489, 498-99 (1982) ..................................................................................................... 45

Wash. State Grange v. Wash. State Republican Party,
 552 U.S. 442, 449-451 (2008) ................................................................................................... 39

Watkins v. United States,
 354 U.S. 178, 200 (1957) .......................................................................................................... 13




                                                                    vii
             Case 1:21-cr-00670-CJN Document 58 Filed 04/15/22 Page 9 of 62




*Yellin v. United States,
  374 U.S. 109, 114 (1963) ......................................................................................................... 2,3




RULES
Fed. R. Crim. P. 12(b)(3)(A)............................................................................................. 2, 4, 5, 48
Fed. R. Crim. P. 12(b)(3)(B) ........................................................................................................... 2
Fed. R. Civ. P. 26(b)(5)(A)(ii) ...................................................................................................... 14


STATUTES
2 U.S.C. § 192 ........................................................................... 3, 16, 26, 30, 38, 39, 42, 43, 45, 52
2 U.S.C. § 193 ......................................................................................................................... 42, 43
2 U.S.C. § 194 ............................................................................................................................... 44
Model Penal Code § 2.04(3)(b) (1962) ................................................................................... 31, 37




                                                                      viii
           Case 1:21-cr-00670-CJN Document 58 Filed 04/15/22 Page 10 of 62




          Defendant Stephen K. Bannon, through his undersigned counsel, respectfully requests that

this Court dismiss the Indictment. In support of this motion, we state as follows:

    I.       Background

          On November 12, 2021, Mr. Bannon was charged in a two count Indictment based on his

conduct after receiving a subpoena dated September 23, 2021, issued by the Select Committee to

Investigate the January 6th Attack on the United States Capitol (“Select Committee”). 1 [Doc. 1]

Mr. Bannon now seeks dismissal of both counts based on defects in instituting the prosecution,

Fed. R. Crim. P. 12(b)(3)(A), and defects in the Indictment, Fed. R. Crim. P. 12(b)(3)(B). A court

considering a motion to dismiss an indictment assumes the truth of the indictment’s factual

allegations. See Boyce Motor Lines v. United States, 342 U.S. 337, 343 n. 16 (1952).

    II.      The Subpoena Was Not Lawfully Issued

          The indictment must be dismissed because the subpoena commanding Mr. Bannon to

appear and produce documents was not lawfully issued. Mr. Bannon cannot be prosecuted for

failing to comply with an unlawful subpoena. The Constitution vests the legislative power in

Congress. U.S. Const. Art. I. Article I provides that “[e]ach House may determine the rules of its

proceedings.” U.S. Const. Art. I § 5. The current House of Representatives is the 117th Congress

– which upon convening established the Rules that govern its actions. The “rules of Congress and

its committees are judicially cognizable.” Yellin v. United States, 374 U.S. 109, 114 (1963). 2 The



1
 Count One alleged that Mr. Bannon “refused to appear to give testimony” while Count Two alleged that
he “refused to produce documents and communications, provide a log of any withheld records, certify a
diligent search for records, and comply in any way . . ..” [Doc. 1 at ¶¶ 23, 25].

2Citing Christoffel v. United States, 338 U.S. 84 (1949); United States v. Smith, 286 U.S. 6 (1932); and
United States v. Ballin, 144 U.S. 1 (1892).


                                                   2
           Case 1:21-cr-00670-CJN Document 58 Filed 04/15/22 Page 11 of 62




rules provide an essential safeguard because they operate as a check and control on the actions of

the majority. 3 When a committee violates the rules by exceeding its authorized power in a way

that threatens the liberty interest of an individual, the judiciary must protect that individual. See

Yellin v. United States, 374 U.S. 109, 117-119 (1963) (reversing 2 U.S.C. § 192 conviction where

congressional subcommittee violated its rules by (a) failing to consider injury to the witness’

reputation and (b) failing to address his request for an executive session).

          The House Rules that apply to this case were established on January 4, 2021, when the

House approved H. Res. 8 (adopting Rules for the 117th Congress). 4 [Ex. A]. The House Rules

establish certain committees – to which the full House has delegated much of its power to act – as

well as rules that govern the procedures of those committees. A committee may only act within

the authority that has been delegated to it by the full House. This delegation of authority to a

committee is set forth in the resolution establishing the committee. If a committee acts beyond its

delegated authority, that action is ultra vires and invalid.

          As reflected in ¶ 1 of the Indictment, the Select Committee was established by the passage

of H. Res. 503 on June 30, 2021. [Ex. B]. The authority of the Select Committee is set forth in that

authorizing resolution, together with the House Rules. In other words, in determining whether an

action by the Select Committee is authorized, one looks to its authorizing resolution (the grant of

authority by the House), and to the House Rules that govern the operations of all committees. Any

action by the Select Committee that is inconsistent with the procedures authorized by the full


3
  See Jefferson’s Manual of Parliamentary Practice, § I – Importance of Adhering To Rules (“It is much
more material that there should be a rule to go by than what that rule is; that there may be a uniformity of
proceeding in business not subject to the caprice of the Speaker or captiousness of the members”) (available
at https://www.govinfo.gov/content/pkg/HMAN-117/pdf/HMAN-117.pdf).

4   H. Res. 8 adopted and modified certain House Rules from the 116th Congress.


                                                     3
         Case 1:21-cr-00670-CJN Document 58 Filed 04/15/22 Page 12 of 62




House is ultra vires and invalid. See, e.g., Kilbourn v. Thompson, Kilbourn v. Thompson,

(congressional compulsory process may not exceed the limit of its own authority). In addition, the

Select Committee, like any committee, may only act within the bounds set forth by the

Constitution. Select Committee actions that infringe upon an individual’s constitutional rights, or

that implicate separation-of-powers issues, are invalid.

                A. The Composition Of The Select Committee Invalidates The Subpoena.

        The Select Committee that issued the subpoena to Mr. Bannon was not composed

consistent with the authority granted to the Select Committee by the full House. Because its

membership was not authorized, the subpoena to Mr. Bannon was not valid, and the Indictment

must be dismissed pursuant to Fed. R. Crim. P. 12(b)(3)(A). The resolution authorizing the Select

Committee provided, in pertinent part, as follows:

        Sec. 2. COMPOSITION.

                 (a) Appointment of Members. – The Speaker shall appoint 13 Members to the
                     Select Committee, 5 of whom shall be appointed after consultation with the
                     minority leader.

[Ex. B at 3] (H. Res. 503, 117th Cong. (2021) at § 2) (emphasis added). The word “shall” provides

no discretion to the Speaker. Nonetheless, the Speaker did not follow this mandatory language. In

an unprecedented step, 5 the Speaker rejected the nominees suggested by the Minority Leader 6 and


5See Press Release by Minority Leader Kevin McCarthy (R-CA) (Jul. 21, 2021) (“Speaker Nancy Pelosi
has taken the unprecedented step of denying the minority party’s picks for the Select Committee on January
6. This represents an egregious abuse of power and will irreparably damage this institution.”) available at
https://www.republicanleader.gov/mccarthy-statement-about-pelosis-abuse-of-power-on-january-6th-
select-committee/; Press Release by Speaker Nancy Pelosi (D-CA), Pelosi Statement on Republican
Recommendations to Serve on the Select Committee to Investigate the January 6th Attack on the U.S.
Capitol (Jul. 21, 2021) (acknowledging that the rejection of the Minority Leader’s nominees was an
“unprecedented decision.”), available at https://www.speaker.gov/newsroom/7212-2.
6The Minority Leader recommended Reps. Jim Banks (R-IN), Rodney Davis (R-IL), Jim Jordan (R-OH),
Kelly Armstrong (R-ND), and Troy Nehls (R-TX).

                                                    4
         Case 1:21-cr-00670-CJN Document 58 Filed 04/15/22 Page 13 of 62




instead appointed 9 members to the Select Committee of her own choosing. 7

        In a political body such as the House, procedural safeguards have been established to

protect the rights of deposition witnesses and the rights of the minority party. These procedures

are especially important where, as here, a select committee was created to inquire into events that

took place following a disputed Presidential election. Nonetheless, the Speaker decided to appoint

members of the Select Committee in a manner that violated the authorizing resolution. The result

was that the Select Committee’s membership was composed – according to the Minority Leader –

to advance the Speaker’s political objectives, without regard for the rights of the minority. 8 To act

under a lawful grant of authority, however, the Select Committee “must conform strictly to [its

authorizing] resolution.” Exxon Corp. v. FTC, 589 F.2d 582, 592 (D.C. Cir. 1978). Because the

Select Committee was not composed as authorized, the subpoena to Mr. Bannon is invalid, and

the indictment must be dismissed. See Christoffel v. United States, 338 U.S. 84, 90 (1949)

(reversing perjury conviction before House committee because rule requiring quorum ignored –

the Supreme Court held that “[a] tribunal that is not competent is no tribunal, and it is unthinkable

that such a body can be the instrument of criminal conviction.”).

               B. The Select Committee Exceeded Its Subpoena Authority – By Violating
                  Rules Which Mandate Ranking Minority Member Consultation And
                  Providing Protective Rules To The Deponent.                  .




7The Speaker appointed Reps. Bennie Thompson (D-MS), Zoe Lofgren (D-CA), Adam Schiff (D-CA),
Pete Aguilar (D-CA), Stephanie Murphy (D-FL), Jamie Raskin (D-MD), Elaine Luria (D-VA), Liz Cheney
(R-WY), and Adam Kinzinger (R-IL). 167 CONG. REC. H3597 (daily ed. July 1, 2021).
8See Chelsey Cox, Who has been subpoenaed so far by the Jan. 6 committee?, USA TODAY (Nov. 10, 2021,
8:22 P.M.), https://www.usatoday.com/story/news/politics/2021/11/10/jan-6-committee-whos-been-
subpoenaed/6378975001/ (last updated Mar. 3, 2022, 4:52 P.M.) (Minority Leader stated that “Speaker
Pelosi’s rejection of the Republican nominees to serve on the committee and self-appointment of members
who share her pre-conceived narrative will not yield a serious investigation. The Speaker has structured
this select committee to satisfy her political objectives.”).

                                                   5
         Case 1:21-cr-00670-CJN Document 58 Filed 04/15/22 Page 14 of 62




       On its face, the Indictment fails to allege that the subpoena was issued to Mr. Bannon in

compliance with the subpoena authority granted to the Select Committee – which requires

consultation with the ranking minority member. The Select Committee has no ranking minority

member. Because the Select Committee violated the grant of subpoena authority provided by the

full House, the Indictment must be dismissed under Fed. R. Crim. P. 12(b)(3)(A).

                       1. Limits On Subpoena And Deposition Authority

       In exercising its legislative power, the House of Representatives has delegated certain

powers to committees. For instance, House committees have the power to secure information via

subpoena. Trump v. Mazars USA, LLP, 140 S. Ct. 2019, 2031 (2020) (citing McGrain v.

Daugherty, 273 U.S. 135, 161 (1927)). However, that grant of authority is limited. The rules

protect the rights of deponents, as well as the rights of the minority.

       There are three sources of authority for the rules that govern the Select Committee’s

exercise of subpoena and deposition power: (a) the resolution that created the Select Committee

(H. Res. 503); (b) the Rules of the House for the 117th Congress; and (c) and the regulations for

the use of deposition authority in the 117th Congress.

       H. Res. 503 provides, in pertinent part, as follows:

       SEC. 5. PROCEDURE.


       * * *
       (c) APPLICABILITY OF RULES GOVERNING PROCEDURES
       OF COMMITTEES.—Rule XI of the Rules of the House of Representatives shall apply to
       the Select Committee except as follows:
              * * *(6)(A) The chair of the Select Committee, upon consultation with the ranking
       minority member, may order the taking of depositions, including pursuant to subpoena, by
       a Member or counsel of the Select Committee, in the same manner as a standing committee
       pursuant to section 3(b)(1) of House Resolution 8, One Hundred Seventeenth Congress.

                                                  6
        Case 1:21-cr-00670-CJN Document 58 Filed 04/15/22 Page 15 of 62




               (B) Depositions taken under the authority prescribed in this paragraph shall be
       governed by the procedures submitted by the chair of the Committee on Rules for printing
       in the Congressional Record on January 4, 2021.

[Ex. B at 9-11] (H. Res. 503, 117th Cong. (2021) at § 5) (emphasis added).Thus, the authorizing

resolution only allows depositions, pursuant to subpoena, after consultation with the Select

Committee’s ranking minority member. The authorizing resolution also incorporates both the

House Rules and the separate regulations on use of deposition authority, which both require

consultation with the ranking minority member before seeking depositions pursuant to subpoena.

       H. Res. 8 (adopting rules for the 117th Congress) provides, in pertinent part, as follows:

               SEC. 3. SEPARATE ORDERS.
               * * *
               (b) DEPOSITION AUTHORITY.—

                      (1) During the One Hundred Seventeenth Congress, the chair of a standing
               committee (other than the Committee on Rules), and the chair of the Permanent
               Select Committee on Intelligence, upon consultation with the ranking minority
               member of such committee, may order the taking of depositions, including pursuant
               to subpoena, by a member or counsel of such committee.

                       (2) Depositions taken under the authority prescribed in this subsection shall
               be subject to regulations issued by the chair of the Committee on Rules and printed
               in the Congressional Record.

[Ex. A at 16] (H. Res. 8, 117th Cong. (2021) at § 3(b)) (emphasis added). The deposition

regulations referenced in both H. Res. 503 and H. Res. 8 also require ranking minority member

consultation. They read, in pertinent part, as follows:

               REGULATIONS FOR THE USE OF DEPOSITION AUTHORITY
               * * *
               2. Consultation with the ranking minority member shall include three days’ notice
               before any deposition is taken.
               * * *

                                                  7
        Case 1:21-cr-00670-CJN Document 58 Filed 04/15/22 Page 16 of 62




               3. . . . Observers or counsel for other persons, including counsel for government
               agencies, may not attend.
               * * *
               5. . . . When depositions are conducted by committee counsel, there shall be no
               more than two committee counsel permitted to question a witness per round. One
               of the committee counsel shall be designated by the chair and the other by the
               ranking minority member per round.
               6. Deposition questions shall be propounded in rounds . . . equal time to the majority
               and minority. In each round, the member(s) or committee counsel designated by
               the chair shall ask questions first, and the member(s) or committee counsel
               designated by the ranking minority member shall ask questions second.
               * * *
               10. The chair and ranking minority member shall consult regarding the release of
               transcripts . . ..
               11. A witness shall not be required to testify unless the witness has been provided
               with a copy of Section 3(b) of H. Res. 8, 117th Congress, and these regulations.
[Ex. C] (Cong. Rec. H41 (Jan. 4, 2021)) (emphasis added).

       As demonstrated in the mandatory rules quoted above, the applicable rules and regulations

limit the use of subpoena and deposition authority in ways designed to protect witnesses, and the

rights of the minority. Among other things, the rules require consultation with the ranking minority

member before issuance of a subpoena for deposition testimony, participation by counsel

designated by the ranking minority member in questioning a deponent, and consultation with the

ranking minority member before release of a deposition transcript.

       The safeguards mandating consultation with the ranking minority member are so important

that if a witness is not provided with a copy of the rules, then they need not testify. Paragraph 11

of the Regulations For Use Of Deposition Authority clearly states that “a witness shall not be

required to testify unless the witness has been provided with” a copy of Section 3(b) (describing

deposition authority) and the regulations for use of deposition (which include the witness

protections involving the ranking minority member). The Indictment on its face does not allege

                                                 8
         Case 1:21-cr-00670-CJN Document 58 Filed 04/15/22 Page 17 of 62




that the Select Committee followed the mandatory rule and provided him with a copy of Rule 3(b).

Nor could the Indictment so allege, because it is undisputed that Mr. Bannon was not provided

with a copy of Section 3(b).

       In serving the subpoena on Mr. Bannon via his counsel Mr. Costello, Select Committee

Chief Counsel and Deputy Staff Director Kristin Amerling provided 10 pages of detailed and

arcane instructions, including the subpoena. She did not, however, provide the specific document

required by the House Rules before a witness was required to testify. See Ex. D (November 10,

2021, FBI Report of Interview of Kristin Amerling) (“A copy of Section 3(b) was not provided to

COSTELLO with the subpoena.”). That unequivocal statement was made on November 2, 2021,

in the presence of all three prosecutors in this case – just 10 days before the Indictment in this case

was filed. Because Mr. Bannon was not provided with a copy of Section 3(b), the House Rules

authorizing depositions makes explicit that he “shall not be required to testify.” Given that, and

the failure of the Indictment to explain the lack of lawful authority for the subpoena under those

circumstances, the Indictment must be dismissed. 9

                       2. The Select Committee Has No Ranking Minority Member

       The Indictment does not allege that the subpoena to Mr. Bannon was issued after

consultation with the Select Committee’s ranking minority member, as required by the

committee’s authorizing resolution. Nor could it. There is no ranking minority member on the

Select Committee. Doug Letter, the General Counsel for the U.S. House of Representatives,



9The House Rules further state that “[c]ompliance with a subpoena issued by a committee or subcommittee
under subparagraph (1)(B) may be enforced only as authorized or directed by the House.” [Ex. E at 20]
(Rules of the House of Representatives, 117th Cong. (Feb. 2, 2021) at Rule XI, cl. 2(m)(1)(3)(C)).
Compliance with the subpoena issued to Mr. Bannon could only be enforced under the authority of the
House after providing him with Rule 3(b), which was not done.


                                                  9
           Case 1:21-cr-00670-CJN Document 58 Filed 04/15/22 Page 18 of 62




acknowledged this in an FBI interview, in the presence of all three prosecutors in this case, as

follows:

       Paragraph one of 3(b) makes reference to ranking minority members, who are typically a
       part of House committees. In these House committees, there are particular rules at hearings
       set aside for the Chair and Ranking Member. The Ranking Member is generally the highest
       minority member in a House committee and typically possess [sic] procedural powers.
       LETTER explained that the Select Committee was specifically appointed by the Speaker
       of the House and there were no majority or ranking members. Representative LIZ
       CHENEY is acknowledged to be the Vice Chair of the Select Committee; since the Select
       Committee has a Chair and a Vice Chair, there are no express rules for the Vice Chair as
       there would be for a Ranking Member.
See Ex. D at 4 (Nov. 2, 2021, FBI Interview of U.S. House of Representatives General Counsel

Doug Letter). Accordingly, the subpoena issued to Mr. Bannon was invalid. It was not in accord

with the subpoena and deposition authority granted by the House to the Select Committee.

       The Speaker designated Rep. Bennie Thompson (D-MS) chair of the Select Committee.

The chair designated Rep. Liz Cheney (R- WY) as vice chair. 10 H. Res. 502 does not reference a

vice chair. The authorizing resolution does not grant any power to a vice chair. The resolution uses

the term “ranking minority member” a term with a long history. A vice chair is not a ranking

minority member – and cannot fulfill the authorized duties of a ranking minority member that are

set forth in the resolution creating the Select Committee and the subpoena and deposition rules

that apply to the Select Committee. 11



10See January 6 Select Committee, Chairman Thompson Announces Representative Cheney as Select
Committee Vice Chair (Sept. 2, 2021), available at https://january6th.house.gov/news/press-
releases/chairman-thompson-announces-representative-Cheney-select-committee-vice-chair.
11The House Rules reveal that vice chairs and ranking minority members are different. For instance, Rule
XI, which sets forth committee procedures, provides that committees can continue their work in the
temporary absence of a committee chair as follows: “If the chair and vice chair of a committee or
subcommittee are not present at any meeting of the committee or subcommittee, the ranking majority
member who is present shall preside at that meeting.” [Ex. E at 17-18] (Rules of the House of
Representatives, 117th Cong. (Feb. 2, 2021) at Rule XI, cl. 2 (d)).


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            Case 1:21-cr-00670-CJN Document 58 Filed 04/15/22 Page 19 of 62




          A committee’s ranking minority member is designated by the minority party. 12 Ranking

minority members have significant roles that protect the rights of deposition witnesses and the

rights of the minority in the legislative process. 13 By long-standing practice, it is the role of each

party to, in accordance with its own procedures, determine how committee chairs and ranking

members are designated. This role cannot be usurped by the other party.

          Republicans are in the minority in the 117th Congress. Accordingly, Republican

Conference rules set forth the procedures for the recommendation of select committee members,

and the designation of ranking minority members. 14 Under these rules, the Republican Leader

recommends Republican members for select committees and designates the Ranking Republican

Member of select committees. [Ex. F at Rule 13 & 14].

          Thus, the Speaker’s “unprecedented” decision to appoint 9 members to the Select

Committee (in contravention of the mandatory language of the authorizing resolution), and to

reject the Republican Leader’s nominees, including his nominee as ranking minority member, had

unforeseen consequences. The Select Committee has no ranking minority member. It follows that

the grant of subpoena power from the House to the Select Committee – which was contingent upon




12   See generally Press Release by Minority Leader Kevin McCarthy (R-CA) (Jul. 21, 2021)         4
13See A Guide To The Rules, Precedents, and Procedures of the House (2017) at 806 (“Under long-standing
practice, special orders of business give control of general debate in the House or in the Committee of the
Whole to the chair and ranking minority member of the reporting committee(s), and recognition is extended
accordingly.”), available at https://www.govinfo.gov/content/pkg/GPO-HPRACTICE-115/pdf/GPO-
HPRACTICE-115.pdf.
14Understanding these rules requires some transposition. While Republicans are in the minority, reference
in the rules to “Speaker” becomes “Republican Leader,” “Chair” becomes “Ranking Republican Member,”
and the authority vested under the rules to the “Speaker” and “Chair” are vested in the “Republican Leader”
or “Ranking Republican Member.” See [Ex. F] (House Republican Conference Rule 2(d)).


                                                    11
           Case 1:21-cr-00670-CJN Document 58 Filed 04/15/22 Page 20 of 62




consultation between the chair and the ranking minority member before issuance of a deposition

subpoena – cannot be lawfully exercised. 15

                C. The Subpoena Was A Misguided And Unconstitutional Effort To Make
                   An Example Of Mr. Bannon.                                        .

        H. Res. 503 describes three functions of the Select Committee, namely: (1) to “investigate

the facts, circumstances, and causes relating to the domestic terrorist attack on the Capitol”; (2) to

“identify, review, and evaluate the causes of and the lessons learned from the domestic terrorist

attack on the Capitol”; and (3) to “issue a final report to the House containing such findings,

conclusions, and recommendations for correct measures described in the subsection (c) as it may

deem necessary.” The subpoena issued to Mr. Bannon, however, did not advance any of those

authorized functions. Instead, the subpoena was an unconstitutional attempt to usurp the executive

branch’s authority to enforce the law, and an effort to impede Mr. Bannon’s first amendment rights

to association and free speech. As made clear in the Indictment, the Select Committee targeted Mr.

Bannon because on January 5, 2021, he was present at the Willard Hotel with others, and because

he made statements on his podcast about what might occur on January 6, 2021. [Doc. 1 at ¶ 7].

Select Committee members have articulated that Mr. Bannon was targeted to send a message to

other potential deponents. The Select Committee is not authorized to issue a subpoena for that

purpose.

        Congress’ subpoena power is ancillary to its legislative authority. See Trump v. Mazars

USA, LLP, 140 S. Ct. 2019, 2031(2020). Accordingly, a congressional committee may only issue


15The procedural safeguard involving consultation with the ranking minority member before seeking a
deposition is the rule, not an exception made just for the Select Committee. See [Ex. A] (H. Res. 8 §3(b)
117th Cong. (2021)) (“During the One Hundred Seventeenth Congress, the chair of a standing committee
(other than the Committee on Rules), and the chair of the Permanent Select Committee on Intelligence,
upon consultation with the ranking minority member of such committee, may order the taking of
depositions, including pursuant to subpoena, by a member or counsel of such committee.”).

                                                   12
         Case 1:21-cr-00670-CJN Document 58 Filed 04/15/22 Page 21 of 62




a subpoena that serves a valid legislative purpose. Even if Congress uses a subpoena to seek

information relevant to contemplated legislation, the subpoena may still be invalid if the

contemplated legislation would be unconstitutional – such as an impermissible infringement on

the authority of the executive branch. See McGrain v. Daugherty, 273 U.S. 135, 171 (1927);

Kilbourn v. Thompson, 103 U.S. 168, 195 (1880); Nixon v. Fitzgerald, 457 U.S. 731, 749 (1982).

        Courts considering whether a subpoena serves a valid legislative purpose consider whether

a particular subpoena serves a valid purpose, not whether the committee has a valid legislative

purpose. See Mazars, 140 S. Ct. at 2031. A committee subpoena issued in order to create a record

of alleged violations of law, or to harass witnesses or send a message, is not valid. A congressional

subpoena issued to investigate and punish perceived criminal wrongdoing unconstitutionally

intrudes on the powers of the Executive Branch. Similarly, a desire to “expose for the sake of

exposure” in not a valid purpose of a congressional subpoena. See Watkins v. United States, 354

U.S. 178, 200 (1957).The Indictment fails to allege how the subpoena issued to Mr. Bannon could

validly inform legislation. 16 Rather, the statements of Select Committee members reveal that the

subpoena issued to Mr. Bannon had an invalid purpose. 17 Because the subpoena was not issued in

furtherance of a valid legislative purpose, the Indictment must be dismissed.



16
  While the D.C. Circuit has noted that “the January 6th Committee plainly has a ‘valid legislative purpose’
and its inquiry ‘concern[s] a subject on which legislation could be had.’” Trump v. Thompson, 20 F.4th 10,
41 (D.C. Cir. 2021) (quoting Trump v. Mazars USA, LLP, 140 S. Ct. 2019, 2031-32 (2020)), injunction
denied, 142 S. Ct. 680 (Jan. 19, 2022), cert. denied, No. 21-932 (Feb. 22, 2022), we raise a different
argument – that the subpoena issued to Mr. Bannon served no valid legislative purpose.

17Rep. Elain Luria – “[I]f we determine that criminal actions were taken … that will be forwarded from the
committee and the appropriate manner [sic] to the Department of Justice …. [T]hat’s exactly why we’re
conducting the investigation to find out all the facts, … and … hold people accountable who are
responsible.” Rep. Jamie Raskin – Select Committee seeks to “expose each and every level of it … the
closer you get to Donald Trump … a religious and political cult of personality … outside of our
Constitutional order.”, CNN POLITICS, Expose Each and Every Level: Lawmaker Makes Promise for Jan.
6 Hearings, (Jan. 16, 2022), https://www.cnn.com/videos/politics/2022/01/16/rep-jamie-raskin-january-6th-

                                                    13
         Case 1:21-cr-00670-CJN Document 58 Filed 04/15/22 Page 22 of 62




               D. Count II Must Be Dismissed Because The Select Committee Has No
                  Authority To Compel Production Of A Privilege Log Or Certification.

       Count II must be dismissed because there is no House Rule that authorizes a committee to

require a deponent to create a privilege log of documents withheld on the basis of privilege, or a

“written certification that a diligent search has been completed.” [Doc. 1 at ¶ 12]. Even if such a

rule existed, its application to a former presidential advisor asserting executive privilege on behalf

of the President he served would raise serious separation of powers issues.


       The Select Committee’s purported commands to Mr. Bannon were more onerous and posed

a higher risk of disclosure of privileged material than the obligations imposed on civil litigants

under Fed. R. Civ. P. 26(b)(5)(A)(ii), which requires that a party asserting privilege to “describe

the nature of documents, communications, or tangible things not produced or disclose – and do so

in a manner that, without revealing information itself privileged or protected, will enable other

parties to assess the claim.” By contrast, the Committee’s instructions demanded specific details

about the withheld materials that may in themselves be privileged. For example, requiring the

privilege log to specify the name of the “author, addressee, and any other recipient(s)” as the

“relationship of the author and addressee to each other” reveals significant information regarding

confidential matters being contemplated by the President. Allowing the Select Committee to




hearings-dotb-acostanr-vpx.cnn). Rep. Bennie Thompson – “Witnesses who assert 5th Amendment rights
before Select Committee should be considered “part and parcel guilty to what occurred.” Tim Hains, Jan.
6 Committee Chairman Bennie Thompson: If You Plead The Fifth, You’re “Part & Parcel Guilty”,
REALCLEAR                           POLITICS(Dec.                        2,                     2021),
https://www.realclearpolitics.com/video/2021/12/02/january_6_committee_chairman_bennie_thompson_i
f_you_plead_the_fifth_youre_part_and_parcel_guilty.html. Rep. Bennie Thompson – “[W]e’ll let the
evidence based on what we look at determine guilt or innocence.” Rep. Bernie Thompson (D-MS), Kyle
Cheney & Josh Gerstein, Trump Cannot Shield White House Records from Jan. 6 Committee, Judge Rules,
available at https://www.politico.com/news/2021/11/09/trump-executive-privilege-court-ruling-kings-
520512.

                                                  14
         Case 1:21-cr-00670-CJN Document 58 Filed 04/15/22 Page 23 of 62




undermine the assertion of executive privilege in this manner would effectively eliminate all

checks on Congress’s ability to interfere with the prerogatives of the Executive Branch.


        Controlling Supreme Court precedent directs that “[s]pecial considerations control when

the Executive’s interests in maintaining its autonomy and safeguarding its communications’

confidentiality are implicated.” Cheney v. U.S. Dist. Court for Dist. of Columbia, 542 U.S. 367,

370 (2004). Thus, presidential communications are presumptively privileged, and this presumption

can be overcome “only by an appropriate showing of public need by the party seeking access to

the conversations.” Senate Select Committee on Presidential Campaign Activities v. Nixon, 498

F.2d 725, 730 (D.C. Cir. 1974) (applying the standard from Nixon v. Sirica, 487 F.2d 700 (1973)).

As explained by the Court of Appeals in Senate Select Committee on Presidential Campaign

Activities v. Nixon, the showing required to overcome the presumption favoring confidentiality

turns “solely on whether the subpoenaed evidence is demonstrably critical to the responsible

fulfillment of the Committee’s functions.” Id. at 731. The purpose of this required showing is to

ensure that Congress cannot intrude upon the prerogatives and autonomy of the Executive unless

doing so is “critical to performance of its legislative functions.” Id. at 732. The Select Committee

cannot circumvent this invaluable constitutional safeguard by demanding that Mr. Bannon produce

an exhaustive privilege log detailing materials withheld pursuant to President Trump’s invocation

of executive privilege. See generally, I.N.S. v. Chadha, 462 U.S. 919, 944 (1983) (“the fact that a

given law or procedure is efficient, convenient, and useful in facilitating functions of government,

standing alone, will not save it if it is contrary to the Constitution.” I.N.S. v. Chadha, 462 U.S. 919,

944 (1983)).




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           Case 1:21-cr-00670-CJN Document 58 Filed 04/15/22 Page 24 of 62




   III.      This Prosecution Violates Due Process

          The prosecution in this case under 2 U.S.C. § 192 violates Mr. Bannon’s right to due

process of law, guaranteed under the Fifth Amendment to the United States Constitution. As Mr.

Bannon already has made clear in previous submissions in this case [e.g., Doc. 30 at 16-21; Doc.

41; Doc. 44], his response to the subpoena on which this prosecution is based was at all times a

function of the former President’s invocation of executive privilege and was based on, pursuant

to, and in reasonable, good-faith reliance upon the official published policy of the United States

Department of Justice, through binding, authoritative legal opinions of that Department’s Office

of Legal Counsel (“OLC”) and was fully consistent with the same. The Department of Justice, of

course, is the same agency that is prosecuting this case. The OLC opinions were brought to Mr.

Bannon’s attention by his attorney, Robert J. Costello, Esquire, who advised Mr. Bannon that the

OLC opinions were binding authority on the Department of Justice and that they were controlling

authority in the circumstances he faced. Mr. Costello provided Mr. Bannon with legal advice,

based on the OLC opinions and Mr. Bannon acted at all relevant times in the manner Mr. Costello

directed him, based on the OLC opinions and Mr. Bannon at all relevant times reasonably relied

on the OLC opinions.

          The OLC opinions provided Mr. Bannon with the actual, implied, and apparent public

authority to proceed as he did with respect to the subpoena on which this prosecution is based, and

his reasonable, good-faith reliance on the invocation of executive privilege and the OLC opinions

at all times with respect to his actions vis a vis the subpoena further gives rise to the complete, due

process-based defense of entrapment by estoppel, prohibiting the Department of Justice from

prosecuting Mr. Bannon in this case. All previous submissions by Mr. Bannon are incorporated




                                                  16
         Case 1:21-cr-00670-CJN Document 58 Filed 04/15/22 Page 25 of 62




herein. Mr. Bannon assumes the Court’s familiarity with the relevant facts for these purposes.

[See also e.g., Docs. 30, 30-1, 39].

        A. Mr. Bannon Relied On Official, Binding, Authoritative DOJ Policy.
        At all relevant times, Mr. Bannon proceeded with respect to the subpoena at issue in

reliance upon and in conformity with former President Trump’s invocation of executive privilege

and the official, legally binding, authoritative policy of the Department of Justice, as reflected in

its Office of Legal Counsel (“OLC”) Opinions and related materials.

        First, when former President Trump, through his attorney, Mr. Clark, advised Mr. Bannon,

through Mr. Costello, that he was invoking executive privilege with respect to the subject matter

of the subpoena, Mr. Bannon was duty bound under the OLC opinions (and relevant case law) to

presume that the former President was within his authority to invoke executive privilege 18 and to

presume that the matters so designated by former President Trump were, indeed, privileged. 19

        Second, Mr. Bannon was entitled to rely on binding DOJ policy, as reflected in the OLC

opinions, for his conclusion that executive privilege can be and was properly invoked with respect

to former employees, no longer working in the Executive Branch, and even to people from outside

the Executive Branch whose privileged counsel the President might seek. 20 The governing legal



18Mr. Bannon certainly was entitled to rely on the principle that a former President retains the right to
invoke executive privilege as to communications that occurred during the time he was President. Nixon v.
Adm’r of General Services, 433 U.S. 425, 448-449 (1977); Trump v. Thompson, 142 S. Ct. 680; 211 L. Ed.
2d 579; 2022 U.S. LEXIS 589; 2022 WL 167347 (January 19, 2022), denial of certiorari; and Id., 142 S.
Ct. at 680-681 (Kavanaugh, J., concurring).

19 [Ex. G] Congressional Oversight of The White House, 45 Op. O.L.C. slip op., at *34 (Jan. 8, 2021),

available at https://www.justice.gov/olc/opinions-main. See also, Senate Select Committee on Presidential
Campaign Activities v. Nixon, 498 F.2d 725, 731 (D.C. Cir. 1974); United States v. Nixon, 418 U.S. 683,
708-709 (1974).
20Consider the following official DOJ policy statement:
“. . . communications between White House officials and individual outside the Executive Branch,
including with individuals in the Legislative Branch . . . fall within the scope of executive privilege . . .

                                                     17
         Case 1:21-cr-00670-CJN Document 58 Filed 04/15/22 Page 26 of 62




principles apply even after a Presidential advisor leaves the White House. 21

        Third, Mr. Bannon relied further on binding, authoritative DOJ OLC opinions that

expressly provided that the Select Committee subpoena was invalid because the committee would

not allow former President Trump’s lawyer to appear to assert and protect executive privilege. As

Mr. Costello explained to Mr. Bannon when he went over the OLC opinions with Mr. Bannon,

OLC opinions hold that under these unique circumstances, non-compliance with a congressional

subpoena is lawful. 22 [Doc. 30-1 at §§ 14, 22]. Mr. Bannon relied on this OLC opinion in

reasonably believing that the subpoena was not valid and that compliance was not, therefore, either

appropriate or required as a matter of fact and law.

        Fourth, Mr. Bannon also relied on long-standing, definitive OLC opinions that not only

advised him not to comply once executive privilege was invoked and that the matter was out of


Naturally, in order for the President and his advisers to make an informed decision, presidential aides must
sometimes solicit information from individuals outside the White House and the Executive Branch.”

Letter from Paul D. Clement, Solic. Gen./Acting Att’y Gen., to President George W. Bush (June 27, 2007),
https://www.hsdl.org/?view&did=741974; See also, Assertion of Executive Privilege Concerning
Dismissal of U.S. Attorneys at 5 (June 27, 2007) [Ex. H] (recognizing right to invoke Executive Privilege
over communications with former employees and outside consultants never formally employed by the
Executive                           Branch.                         Available                          at:
https://www.justice.gov/file/451161/download#:~:text=Executive%20privilege%20may%20properly%20
be%20asserted%20over%20the,that%20have%20been%20subpoenaed%20by%20congressional%20com
mit-%20tees.
21See [Ex. I] Immunity of the Former Counsel to the President from Compelled Congressional Testimony,
43 Op. O.L.C. __, at *2 (July 10, 2007) (“Immunity of Former Counsel”), available at
https://www.justice.gov/olc/opinions-main; See [Ex. G] also Congressional Oversight of the White House
, 45 Op. O.L.C. __, at *15-16 (Jan. 8, 2021) , available at https://www.justice.gov/olc/opinions-main
(explaining that “the risk to the separation of powers and to the President’s autonomy posed by a former
adviser’s testimony on official matters continues after the conclusion of that adviser’s tenure”).
22See [Ex. G] Congressional Oversight of The White House, supra, at *56 (“subpoenas requiring White
House personnel to testify without agency counsel are therefore without legal effect and may not
constitutionally be enforced, civilly or criminally, against their recipients”); Attempted Exclusion of Agency
Counsel from Congressional Depositions of Agency Employees, 2019 WL 2563045 (O.L.C.) at *1 (May
23, 2019) (“Congressional subpoenas that purport to require agency employees to appear without agency
counsel are legally invalid and are not subject to civil or criminal enforcement.”).


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         Case 1:21-cr-00670-CJN Document 58 Filed 04/15/22 Page 27 of 62




his hands, but he relied as well on express, definitive DOJ OLC opinions and the long-standing

policy of the Department of Justice, that, under any circumstances (and certainly the circumstances

present here) non-compliance with the subpoena would be lawful and could not subject him to

criminal prosecution. 23 [Doc. 41-7 at 22]

        Indeed, the Department of Justice has “long maintained . . . that the contempt statute does

not apply to executive branch officials who resist congressional subpoenas in order to protect the

prerogatives of the Executive Branch.” [Ex. G] Congressional Oversight of The White House, at

50. As recently as 2021, an official binding OLC opinion declared as follows:

        The White House has declined to make many of the President’s immediate advisers
        available since the establishment of the EOP, and for almost 50 years, the Department of
        Justice has articulated this position as a legal immunity – that “the President and his
        immediate advisers are absolutely immune from testimonial compulsion by a
        Congressional committee on matters related to their official duties.” Immunity of the
        Former Counsel, 43 Op. O.L.C. __, at *3 (internal quotation marks omitted).

        As Assistant Attorney General Rehnquist explained:
        The President and his immediate advisers – that is, those who customarily meet with the
        President on a regular or frequent basis – should be deemed absolutely immune from
        testimonial compulsion by a congressional committee. They not only may not be examined
        with respect to their official duties, but they may not even be compelled to appear before a
        congressional committee.

Memorandum for John D. Ehrlichman, Assistant to the President for Domestic Affairs, from

William H. Rehnquist, Assistant Attorney General, Office of Legal Counsel, Re: Power of

Congressional Committee to Compel Appearance or Testimony of “White House Staff” at 7 (Feb.




23
   See [Ex. J] Prosecution for Contempt of Congress of an Executive Branch Official Who Has Asserted a
Claim of Executive Privilege, 8 Op. O.L.C. 101, 129 (1984) (“We believe that the Department’s long-
standing position that the contempt of Congress statute does not apply to executive officials who assert
Presidential claims of executive privilege is sound, and we concur with it.); [Ex. G] Congressional
Oversight of the White House, 2021 WL 222744 (O.L.C.) at *33. See also [Ex. P] Letter from Ronald C.
Machen Jr., United States Attorney, to Speaker of the House John A. Bohner, (March 31, 2015) at 6 (“It
has long been the position of the Department, across administrations of both political parties, that we will
not prosecute an Executive Branch official under the contempt of Congress statute for withholding
subpoenaed documents pursuant to a presidential assertion of executive privilege.”).

                                                    19
         Case 1:21-cr-00670-CJN Document 58 Filed 04/15/22 Page 28 of 62




5, 1971); see also [Ex. I] Immunity of the Former Counsel to the President from Compelled

Congressional Testimony, 43 Op. O.L.C. slip op. at *7-11 (July 10, 2007) (“Immunity of Former

Counsel”), available at https://www.justice.gov/olc/opinions-main (listing historical examples of

immediate presidential advisors refusing to testify); Letter for Phillip E. Areeda, Counsel to the

President, from Antonin Scalia, Assistant Attorney General, Office of Legal Counsel, at 6 (Sept.

25, 1974) (“at least since the Truman Administration,” presidential advisors “have appeared before

congressional committees only where the inquiry related to their own private affairs or where they

had received Presidential permission”). 24


24
  Even if the conclusion of the OLC opinions as to the absolute immunity of an executive branch employee
has been undermined in this Circuit by, for example, the decision in Comm. On the Judiciary of the United
States House of Representatives v. McGahn, 968 F.3d 755 (2020) (en banc), Mr. Bannon maintains his
right to immunity in reliance on the OLC Opinions, in addition to the other arguments advanced here. The
2021 OLC opinion post-dates McGahn. Mr. Bannon’s reliance need not be correct, nor need the OLC
opinion be a correct statement of the law for entrapment by estoppel or apparent authority purposes. United
States v. Barker, 546 F.2d 940, 952 (D.C. Cir. 1976). The decision in McGahn is significant for at least
two other reasons. First, it clearly reflects the central role OLC opinions play within the Department of
Justice and for Executive Branch employees or former employees who rely on them. Indeed, the Court in
McGahn expressly cited the OLC opinions on which Mr. Bannon relied for his reasonable and correct
conclusion that it is long-standing DOJ policy that no criminal charges under 2 U.S.C. §192 will lie when
an executive branch or former executive branch member fails to comply with a congressional subpoena and
Executive Privilege is invoked. McGahn, 968 F.3d at 773 (“Yet the OLC has repeatedly opined that the
criminal contempt statute does not and could not apply to a close Presidential advisor.”). See, e.g., [Ex. N]
Testimonial Immunity Before Congress of the Former Counsel to the President, 2019 OLC LEXIS 2, 2019
WL 2315338, at *14 (O.L.C. May 20, 2019); [Ex. K] Whether the Department of Justice May Prosecute
White House Officials for Contempt of Congress, 32 Op. O.L.C. 65, 68-69 (2008) Cooper Opinion, 10 Op.
O.L.C. at 83; Olson Opinion, 8 Op. O.L.C. at 142”).

Secondly, the McGahn Court makes clear that it is the role of the judiciary – not Congress itself - to act as
the arbiter, in the context of a civil matter, over a dispute between Congress and the Executive Branch in
just such a matter as this, when there is a tension between Congress’s subpoena power and the interests
underlying executive privilege. See McGahn, 968 F.3d at 766 (“Further, the OLC, in opinions never
withdrawn, has stated that a House of Congress can file a civil action to seek enforcement of its
subpoenas.”). See [Ex. O] Response to Congressional Requests for Information Regarding Decisions Made
under the Independent Counsel Act, 10 Op. O.L.C. 68, 83 (1986) ("Cooper Opinion"); [Ex. J] Prosecution
for Contempt of Congress of an Executive Branch Official Who Has Asserted a Claim of Execuctive
Privilege, 8 Op. O.L.C. 101, 137 (1984) (“Olson Opinion”)”). Indeed, the McGahn Court expressly noted
that the DOJ has opined at least twice in OLC opinions that a civil enforcement action, not a criminal
contempt indictment, is the “only practicable” way to proceed when non-compliance with a congressional
subpoena by a current or former Executive Branch employee is at issue. McGahn, 968 F.3d at 776.


                                                     20
         Case 1:21-cr-00670-CJN Document 58 Filed 04/15/22 Page 29 of 62




       The DOJ’s definitive position that the criminal contempt statute does not apply where

Executive Privilege has been invoked goes back well over six decades. Mr. Bannon relied on that

in his response to the subpoena and he was entitled to rely on that official policy. The DOJ must

be estopped from prosecuting this case, in light of its official, published policy on this exact issue.

       As the OLC opinion, [Ex. K] Whether the Department of Justice May Prosecute White

House Officials for Contempt of Congress, 2008 WL 11489049 (O.L.C. at *2) expressly reports,

in 1956, Deputy Attorney General William Rogers presented a report to Congress that concluded

that the criminal contempt of Congress statute was “inapplicable to the executive departments”

where the President has asserted executive privilege. [See Doc. 41-6].

       In 1976, Assistant Attorney General Rex Lee stated that if an executive branch member

were cited for contempt of Congress because of the assertion of executive privilege, the DOJ would

not present the matter to a grand jury (notwithstanding the mandatory language in Sec. 194). 25 In

Assistant Attorney General Theodore Olson’s comprehensive 1984 OLC Opinion, 26 drawing on

canons of statutory construction, legislative history, and basic constitutional principles, (including

constitutional separation of powers principles), the DOJ concluded that Section 192 was not

intended to apply and could not constitutionally be applied to an executive branch official who

asserts the President’s claim of executive privilege. During the administration of President William

J. Clinton, Assistant Attorney General Walter Dellinger stated that “the criminal contempt of

Congress statute does not apply to the President or presidential subordinates who assert executive

privilege.” [Ex. L] Application of 28 U.S.C. Sec. 458, 19 Op. O.L.C. at 356 (emphasis added).



25Representation of Congress and Congressional Interests in Court: Hearings Before the Subcomm. on
Separation of Powers of the Senate Committee on the Judiciary, 94th Cong. 8 (1976).
26[Ex. J] Prosecution for Contempt of Congress of an Executive Branch Official Who Has Asserted a Claim
of Executive Privilege, 8 Op. O.L.C. 101, 102 (1984) (“Prosecution for Contempt of Congress”)

                                                  21
         Case 1:21-cr-00670-CJN Document 58 Filed 04/15/22 Page 30 of 62




Professor Dellinger wrote further that to apply “the contempt statute against an assertion of

executive privilege would seriously disrupt the balance between the President and Congress.” Id. 27

These are the binding DOJ policies on which Mr. Bannon reasonably relied.

               B. OLC Opinions Are Binding, Authoritative Statements
                  Reflecting The Official Policy Of The Department Of Justice.

       Under Article II of the Constitution, the President must “take Care that the Laws be

faithfully executed.” U.S. Const. art. II, § 3. The President exercises the power of legal

interpretation to carry out this textually specified duty. “In doing so, he must first construe the law

in order to enforce it.” 28 It is, of course, the Attorney General who aids the President in fulfilling

this function. (See Note 11, infra.).

       Under the Judiciary Act of 1789, Congress created the office of Attorney General which

was charged with the obligation to “give … advice and opinion upon questions of law when

required by the President of the United States, or when requested by the heads of any of the

departments.” Judiciary Act of 1789, Ch. 20 § 35: see, 28 U.S.C. §§ 511-513.

       Until the mid-20th Century, the opinions under the Judiciary Act were prepared primarily

by the Solicitor General or Assistant Solicitor General. 29 Starting in 1950, the OLC took on the

task of writing opinions under the Judiciary Act. 30 The OLC was assigned the role of “preparing

the formal opinions of the Attorney General; rendering informal opinions and legal advice to the



27See also, [Ex. Q] Letter from Michael B. Mukasey, Attorney General, to the Hon. Nancy Pelosi, Speaker
of the House of Representatives (Feb. 28, 2008); Response to Congressional Requests for Information
Regarding Decisions Made Under the Independent Counsel Act, 10 Op. O.L.C. 68 (1986) (by Assistant
Attorney General Charles Cooper).
28See [Ex. DD] Note, The Immunity-Conferring Power of the Office of Legal Counsel, 121 Harv. L. Rev.
2086, 2087 (June 2008).
29 See, [Ex. CC] Griffin B. Bell, The Attorney General: The Federal Government's Chief Lawyer and Chief
Litigator, or One Among Many? 46 Fordham L. Rev. 1049, 1064 (1978).
30 Id.



                                                  22
        Case 1:21-cr-00670-CJN Document 58 Filed 04/15/22 Page 31 of 62




various agencies of the Government; and assisting the Attorney General in the performance of his

functions as legal advisor to the President.” 28 C.F.R. § 0.25(a) (2007). Today the OLC opinions

form “the largest body of official interpretation of the Constitution and Statutes outside the

volumes of the Federal Court Reporters.” 31 As Judge Randolph D. Moss has written, OLC

Opinions “define … the meaning of the law for an entire branch of government and that branch of

government has an obligation to get the law right.” [Ex. M] Randolph D. Moss, Executive Branch

Legal Interpretation: A Perspective from the Office of Legal Counsel, 52 Admin. L. Rev 1303,

1321, (2000). OLC advice has been treated “as conclusive and binding since [the Nineteenth

Century].” Id. at 1320.

       As the Court wrote in Citizens for Responsibility & Ethics in Wash. v. U.S. Dep’t of Justice,

922 F.3d 480, 483 (D.C. Cir. 2019) (CREW II), quoting from, Citizens for Responsibility & Ethics

in Wash. v. U.S. Dep’t of Justice, 846 F.3d 1235, 1238 (D.C. Cir. 2017) (CREW I), [T]he authority

of the Office of Legal Counsel (OLC) is “nearly as old as the Republic itself.” “Since the Judiciary

Act of 1789, the United States Attorney General has had the authority “to give his advice and

opinion upon questions of law when required by the President of the United States, or when

requested by the heads of any of the departments, touching on matters that may concern their

departments.” Id. quoting from, Judiciary Act of 1789, § 35, 1 Stat. 73, 93 (codified as amended

at 28 U.S.C. §§ 511-513). Since then, the Attorney General has “delegated much of his authority

to the OLC.” CREW II, at 483. “Over the years, the OLC has opined on ‘some of the weightiest

matters in our public life ….’” CREW II, at 483, quoting from CREW I, 846 F.3d at 1238. OLC

opinions “reflect the legal position of the executive branch” and “provide binding interpretive




 See, [Ex. BB] John O. McGinnis, Models of the Opinion Function of the Attorney General: A Normative,
31

Descriptive, and Historical Prolegomenon, 15 Cardozo L. Rev 375, 376 (1993).

                                                 23
         Case 1:21-cr-00670-CJN Document 58 Filed 04/15/22 Page 32 of 62




guidance for executive agencies.” Casa de Maryland v. United States Dep’t of Homeland Sec., 924

F.3d 684, 718 n.1 (4th Cir. 2019).

       The OLC “considers its written formal opinions to be ‘one particularly important form of

controlling legal advice.’” CREW II, 922 F.3d at 484, quoting from [Ex. U] Memorandum from

David J. Barron, Acting Assistant Attorney General, to Attorneys of the Office of Legal Counsel,

[Ex. U] Best Practices of OLC Legal Advice and Written Opinions 1-2 (July 16, 2010) at 1. The

OLC’s informal legal advice, often taking the form of letters or memoranda, along with the formal

written opinions have been described by a former head of the OLC, Karl Thompson, as

“authoritative” and “binding by custom and practice in the executive branch.” Indeed, specifically

referring to both the formal written OLC opinions and the informal OLC advice, given orally or in

emails, OLC Head Thompson said, both are “authoritative,” and “binding” in the executive branch.

He said that both reflect the “official view of the office” and that [P]eople are supposed to and do

follow it.” See CREW II, 922 F.3d at 484, citing, Josh Gerstein, Official: FOIA Worries Dampen

Requests for Formal Legal Opinions, at 2, POLITICO, Under the Radar, November 5, 2015). 32

The OLC opinions at issue in this case, reflect the OLC’s legally binding, authoritative position

on matters directly related to its own agency, the Department of Justice, and they reflect consistent

policy directives extending back over six decades, having long ago been adopted by the DOJ. They

are, in short, the DOJ’s “working law,” with the full “force and effect of law.” See e.g., NLRB v.

Sears Roebuck & Co., 421 U.S. 132, 153 (1975), quoting H.R. Rep. No. 1497.

       One leading legal commentator has written, “[F]or decades, the Office of Legal Counsel

(OLC) has been the most significant centralized source of legal advice within the Executive




32   https://www.politico.com/blogs/under-the-radar/2015/11/official-foia-worries-dampen-requests-for-
formal-legal-opinions-215567

                                                 24
         Case 1:21-cr-00670-CJN Document 58 Filed 04/15/22 Page 33 of 62




Branch.” [Ex. S] Trevor W. Morrison, Stare Decisis in the Office of Legal Counsel, 110 Colum.

L. Rev. 1448, 1451 (2010). See CREW I, 846 F.3d at 1238.

       The OLC itself has gone to great lengths to ensure the reliability and correctness of its

process and the substance of its opinions. Professor Morrison, an OLC veteran, cites three

significant memoranda that reflect the emphasis on the integrity, mission, and goals of the OLC

opinion-generating process. Id. at 1452-1455.

       These are (1) “Principles to Guide the Office of Legal Counsel” (“OLC Guidelines), a 2004

memorandum written principally by Professor Walter Dellinger and eighteen other members of

the OLC (including Judge Moss of this Court) who served during the Clinton Administration, and

some of whom worked in other administrations as well. These Guidelines provide, inter alia, that

“OLC’s legal determinations are considered binding on the executive branch, subject to the

supervision of the Attorney General and the ultimate authority of the President” and they issue the

directive that “OLC should provide an accurate and honest appraisal of applicable law, even if the

advice will constrain the administration’s pursuit of desired policies.” See [Ex. T] Walter

Dellinger, et al., Principles to Guide the Office of Legal Counsel (2004); (2) An official OLC

memorandum from May 2005 entitled “Best Practices for OLC Opinions” written by Principal

Deputy Assistant Attorney General Steven G. Bradbury on May 16, 2005 (“OLC Best Practices

Memorandum”). This memorandum provides, inter alia, that “Subject to the President’s authority

under the Constitution, OLC opinions are controlling on questions of law within the Executive

Branch.” Id. at 1. It further provides that “OLC’s interest is simply to provide the correct answer

on the law ….” Id. at 3. Mr. Bradbury describes a detailed, careful process to make sure the OLC

gets the law right, and especially on separation of powers issues, among all questions; Id. 33 and


 Mr. Bradbury is the author of one of the OLC Opinions on which Mr. Bannon relied. See Whether the
33

Department of Justice May Prosecute White House Officials for Contempt of Congress (February 29, 2008).

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            Case 1:21-cr-00670-CJN Document 58 Filed 04/15/22 Page 34 of 62




(3) the July 16, 2010 David J. Barron Memorandum, referred to above, that updates the Bradbury

“Best Practices Memorandum. 34” This Memorandum reiterates that “OLC’s core function … is to

provide controlling advice to Executive Branch officials on questions of law….” Then Acting

Assistant Attorney General Barron emphasizes the importance of the OLC’s work and the central

goal of getting the law right in every OLC Opinion, in a manner that is faithful to the substance

and values reflected in the Constitution. Id. See also, [Ex. M] Randolph D. Moss, Executive

Branch Legal Interpretation: A Perspective From the Office of Legal Counsel, 52 Admin. L. Rev.

1303, 1318-20 (noting that for over two hundred years “agencies have in practice treated (OLC)

opinions as binding.”). Professor Morrison persuasively argues that it is precisely because OLC

Opinions always have been treated as binding within the executive branch that the principle of

stare decisis should be applied and he emphasizes that “especially on issues of the constitutional

separation of powers,” the OLC Opinions play a particularly important role. 110 Colum. L. Rev.

1448 at 1493, 1496.

           The legal authority that Mr. Bannon relied upon in this case reflects the formal, official,

binding, authoritative position of the Department of Justice, the very agency that is prosecuting

this case in direct contravention of its own formal, binding, published official policy. The policies

relied upon reflect the legally binding, official, authoritative position adopted by the Department

of Justice extending back over six decades and across every administration since at least 1956. It




Mr. Bradbury’s OLC Opinion provides in no uncertain terms, drawing on OLC official policy papers going
back at least to 1956, and across all administrations, the OLC’s official, binding, authoritative conclusion,
as a matter of binding policy, that former or current White House advisors who decline to provide
documents or testimony, or who decline to appear to testify, in response to a subpoena from a congressional
committee, based on the President’s assertion of executive privilege, absolutely cannot be criminally
prosecuted by the Department of Justice under the statute charged here, 2 U.S.C. § 192.
https://www.justice.gov/opinion/file/832851/download

34   https://www.justice.gov/sites/default/files/olc/legacy/2010/08/26/olc-legal-advice-opinions.pdf

                                                       26
        Case 1:21-cr-00670-CJN Document 58 Filed 04/15/22 Page 35 of 62




was objectively reasonable and absolutely appropriate as a matter of fact and law for Mr. Bannon

to rely on the OLC opinions.

           D. This Prosecution Is Barred By The Doctrines Of Entrapment By Estoppel,
           Actual Public Authority, And Apparent Public Authority.           .

       This case emphatically presents the hallmark case in which the prosecuting authority must

be prohibited from prosecuting the Defendant because its own formal, official, binding, published

policy statements (OLC Opinions) licensed/directed the Defendant’s conduct for which he is being

prosecuted and assured the Defendant that if he were to engage in the conduct at issue – non-

compliance with the subpoena based on the invocation of Executive Privilege – he absolutely could

not lawfully be criminally prosecuted and would not be prosecuted.

       This prosecution must be dismissed under the indisputably extraordinary circumstances of

this case. There can be no legitimate material dispute that (1) Mr. Bannon is a former close

Executive Branch advisor of former U.S. President Trump, that (2) former President Trump

invoked Executive Privilege with respect to the subpoena at issue in this case, that (3) Mr. Bannon,

through counsel, advised the Committee that his non-compliance was based on the invocation of

Executive Privilege and the relevant OLC opinions, that (4) counsel for Mr. Bannon asked the

Committee whether the privilege holder’s representative would be permitted to attend Mr.

Bannon’s deposition to which the subpoena was directed and was told that no privilege holder

representative could attend, that it was not permitted under the Committee’s rules and that (5) Mr.

Bannon relied on OLC Opinions that provided, inter alia, that (A) the invocation by the former of

current President is presumptively valid; that (B) Executive privilege validly can be invoked by a

former President and can validly be invoked with respect to communications with a former

Executive Branch employee/close advisor or any outside party consulted by the President (or

former); and that (C) a person who refuses to comply with a congressional subpoena based on the

                                                27
          Case 1:21-cr-00670-CJN Document 58 Filed 04/15/22 Page 36 of 62




invocation of Executive Privilege cannot be criminally prosecuted – and specifically not under 2

U.S.C. § 192 and that (D) the refusal to let a privilege holder representative attend the deposition

rendered the subpoena unlawful and invalid.

         Under the circumstances presented here, it would be fundamentally unfair and a clear due

process violation to permit this prosecution to go forward. It must be dismissed. United States v.

Levin, 973 F.2d 463, 468 (6th Cir. 1992) (granting pre-trial motion to dismiss). Here, as in Levin,

there can be no factual dispute about what the written, binding, authoritative OLC Opinions

provided on the matters directly at issue, nor can there be any factual dispute about Mr. Bannon’s

reliance on them. Dismissal, therefore, is the appropriate remedy. This is even more emphatically

the case here, where Mr. Bannon also received a direct order from the former President requiring

that he fully honor the invocation of executive privilege and where the authority relied upon is

actually from the very agency now prosecuting the case. This prosecution is in direct contravention

of its own binding, published, authoritative positions.

         A due process-based prohibition on prosecuting a case under the operative facts presented

in this case has long been established by the United States Supreme Court and this Circuit has led

the way in acknowledging these principles. See United States v. Barker, 546 F.2d 940 (D.C. Cir.

1976).

Preliminary Note:

         As a preliminary note, Government counsel appear to recognize the defenses discussed

here, as of course they must, 35 but their apparently evolving view, as they have presented it to the


35The U.S. Attorneys’ Criminal Resource Manual has recognized these defenses that a defendant might
assert if he or she is charged with committing a crime that arguably is committed in reliance upon the
position taken by a government agency. See [Ex. EE] U.S. Attorneys’ Manual, Title 9: Criminal Resource
Manual § 2055 (archives). https://www.justice.gov/archives/jm/criminal-resource-manual-2055-public-
authority-defense.


                                                 28
         Case 1:21-cr-00670-CJN Document 58 Filed 04/15/22 Page 37 of 62




Court most recently, reflects a fundamental misunderstanding on at least three issues. First, the

Government has represented to the Court that the defenses of public authority and entrapment by

estoppel require and turn on some direct interaction, a sort of question-and-answer session between

a specific government agent and the defendant [Doc. 46 at 2-3]. The Government is absolutely

wrong. See United States v. Pennsylvania Industrial Chemical Corp., 411 U.S. 655, 673-675

(1973) (“PICCO”) (reliance on agency’s administrative regulations); United States v. Barker, 546

F.2d 940, 951-952 (D.C. Cir. 1976) (reliance on a “legal theory espoused by this and all past

Attorneys General for forty years”). 36

        Secondly, Government counsel have represented to the Court that these defenses are “not

legal defenses the Court decides on a motion to dismiss.” [Doc. 46 at 2]. Again, the Government

is wrong. Government counsel simply fail to acknowledge the decision in United States v. Levin,

973 F.2d 463, 468-470 (6th Cir. 1992), in which the Sixth Circuit expressly approved the district

court’s decision to grant a motion to dismiss at the pre-trial stage, based on the fundamental

unfairness of prosecuting a defendant for conduct that the relevant agency’s policy, reflected in

opinion letters to others, indicated would be legal conduct. See also Id. at 465 (expressly noting

that the defendants “initiated no inquiry of their own concerning the legality of (their conduct)”).



36 The Government repeatedly cites the landmark Second Circuit decision in United States v. Abcassis, 45
F.3d 39 (2d Cir 1995) in support of its thesis that direct inquiry and representations between the defendant
and a government agent are required to support the defenses of public authority and entrapment by estoppel.
[E.g., Doc. 43 at 8; Doc. 46 at 2]. Abcassis did, indeed, involve direct contact between the defendants,
former government informants, and a government agent who they believed gave them license to pursue an
illegal heroin importation deal and their convictions and sentences of 30, 12, and 5 years in prison were
reversed, based on the district court’s agreement to give an actual authority jury instruction, but refusal to
give an entrapment by estoppel instruction. However, the fact that that was the scenario in that case or any
other, or even if that is the paradigm scenario for public authority and entrapment by estoppel defenses,
neither Abcassis nor any other decision stands for the proposition that this is the only kind of scenario that
supports these defenses. Indeed, in Abcassis, 45 F.3d at 43, the Court expressly referred to the Sixth
Circuit’s decision in United States v. Levin, 973 F.2d 463 (6th Cir. 1992) in support of its conclusion, and
the defendant in Levin, of course, made no inquiry and received no personal assurances; rather he relied on
official written agency policy statements. See Levin, 973 F.2d at 465.

                                                     29
            Case 1:21-cr-00670-CJN Document 58 Filed 04/15/22 Page 38 of 62




Also, in several other cases, once the Court found that the government’s position was as the

defendant understood it, the Court held that a prosecution under those circumstances would be

totally unfair and could not be pursued, and the courts reversed the convictions. They did not

remand for the defense to be put before a judge or jury at a new trial. Cox v. Louisiana, 379 U.S.

559, 575 (1965); United States v. Tallmadge, 829 F.2d 767, 775 (9th Cir. 1987). The defense

clearly is not just a trial defense and the instant case presents the strongest case possible for pre-

trial dismissal on this issue.

           Third, Government counsel has asserted to the Court that OLC and other DOJ “records”

that support Mr. Bannon’s defense, which he “did not already know about” “could not be relevant

to (the public authority and entrapment by estoppel defenses) and thus have no bearing on his

ability to make motions related to them.” [Doc. 46 at 3]. Once again, the Government is absolutely

wrong. The formulation of the elements of an entrapment by estoppel defense in this Circuit and

elsewhere includes a requirement that the reliance by the Defendant was “reasonable.” See, e.g.,

United States v. Barker, 546 F.2d at 951-952 (reasonable to rely on forty years of the Attorney

General’s position); United States v. Levin, 973 F.2d at 468 (defendant’s reliance must be

reasonable); United States v. Tallmadge, 829 F.2d 767, 773-775 (same; reversing conviction for

defendant, based on entrapment by estoppel, finding it reasonable for defendant to rely on

representations by licensed firearms dealer and defendant’s attorney). 37



37   See also, The Model Penal Code, which provides in pertinent part as follows:

           “A belief that conduct does not legally constitute an offense is a defense to a prosecution
           for that offense based upon such conduct when … [the defendant] acts in reasonable
           reliance upon an official statement of the law … contained in (i) a statute or other
           enactment; (ii) a judicial decision, opinion or judgment; (iii) an administrative order or
           grant of permission; or (iv) an official interpretation of the public officer of body charged
           by law with responsibility for the interpretation or enforcement of the law defining the
           offense.”


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        Case 1:21-cr-00670-CJN Document 58 Filed 04/15/22 Page 39 of 62




       The history of the DOJ’s OLC opinions writings and position on the subjects at hand is

directly relevant to the question of “reasonableness.” It is more “reasonable” for the Defendant to

have relied on the OLC Opinions he saw and to have believed them to be legally binding, adopted,

authoritative positions of the DOJ and the Executive Branch charged with enforcing the statute if

the positions taken reflect the same positions taken and adopted over the course of six decades.

Those historic “records” he might not have seen are directly relevant. Similarly, say for example,

the Defendant read an OLC Opinion that stated that employees of the Executive Branch cannot be

prosecuted criminally under 2 U.S.C. § 192 for failing to comply with a subpoena when executive

privilege is invoked, and the Defendant believed from the rationale of the OLC Opinion that it

included former employees or even outside consultants who have communications with the

President. OLC Opinions the Defendant might not have seen that expressly provide that former

employees and outside consultants are covered as well are directly relevant to the “reasonableness”

of his belief (and reliance on) regarding the ambit of the OLC Opinion he did see. Similarly, of

course, as the Court in Tallmadge expressly found, the advice by Mr. Bannon’s experienced

attorney, Mr. Costello, is independently relevant to support the “reasonableness” of Mr. Bannon’s

belief in what the OLC Opinions provided and the “reasonableness” of his reliance on them.

Tallmadge, 829 F.2d at 775. The historic “records” of the DOJ on the matters relevant to the issues

before the Court are also independently relevant to demonstrate the adoption by the DOJ of the

positions reflected in the OLC Opinions and other writings and as further evidence of actual and

apparent authority. Each of the OLC Opinions also should be deemed party admissions.

   1. Entrapment by Estoppel




Model Penal Code § 2.04(3)(b) (1962) (emphasis added).

                                                31
        Case 1:21-cr-00670-CJN Document 58 Filed 04/15/22 Page 40 of 62




       The doctrine of entrapment by estoppel was first recognized and explained in two decisions

from the United States Supreme Court handed down many years ago: Raley v. State of Ohio, 360

U.S. 423 (1959) and Cox v. Louisiana, 379 U.S. 559 (1965).

       In Raley, 360 U.S. 423, 438 (1959), the Court held that the government may not convict “a

citizen for exercising a privilege which the State clearly had told him was available to him.” Id.

The case involved an accused charged with failing to answer questions put to him by the Un-

American Activities Commission of the State of Ohio. Id. at 424. The accused had invoked the

privilege against self-incrimination on advice that the privilege applied. Id. at 425. The accused

was indicted for refusing to answer the questions, even though certain Commission members stated

that it was acceptable to invoke privilege rather than answer the questions posed. Id. The Supreme

Court reversed, holding that due process does not permit the criminal conviction of a person who

acts in reliance on authoritative pronouncements by relevant government officials or a government

agency. Id. at 438-39.

       In Cox v. Louisiana, the Supreme Court reiterated the principles enunciated in Raley,

making clear that due process of law does not permit a criminal prosecution for conduct a State

official or agency indicated was lawful. 379 U.S. 559, 571 (1965). In Cox, a group of people

engaged in a demonstration across from a courthouse to protest what they believed to be the illegal

arrest of 23 students. Id. at 564-65. Reverend B. Elton Cox, a civil rights leader, was convicted

under a Louisiana statute that made it a crime to picket or demonstrate near a courthouse for the

purpose of influencing a judge, juror, witness, or court officer. Id. at 559. The evidence was

undisputed that, notwithstanding the term “near” in the statute, the State had made clear that

demonstrating across the street from the courthouse was a permissible distance. Id. The Cox Court,

relying on Raley, held that a conviction under those circumstances could not stand, even though



                                                32
           Case 1:21-cr-00670-CJN Document 58 Filed 04/15/22 Page 41 of 62




the Sheriff, at some point, ordered the demonstrators to disperse and leave. The Court in Cox

opined:

          In Raley v. Ohio, 360 U.S. 423, this Court held that the Due Process Clause
          prevented conviction of persons for refusing to answer questions of a state
          investigating commission when they relied upon assurances of the commission,
          either express or implied, that they had a privilege under state law to refuse to
          answer, though in fact this privilege was not available to them. The situation
          presented here is analogous to that in Raley, which we deem to be controlling. As
          in Raley, under all the circumstances of this case, after the public officials acted as
          they did, to sustain appellant's later conviction for demonstrating where they told
          him he could “would be to sanction an indefensible sort of entrapment by the State
          -- convicting a citizen for exercising a privilege which the State had clearly told
          him was available to him.” The Due Process Clause does not permit convictions to
          be obtained under such circumstances.


Id. at 571 (quoting Raley v. Ohio, 360 U.S. 423, 426 (1959) (internal citations omitted).

          In United States v. Pennsylvania Industrial Chemical Corp., 461 F.2d 468 (3d Cir.

1972), modified and remanded, 411 U.S. 655 (1973), the Third Circuit first recognized and applied

the defense of entrapment by estoppel. The defendant was charged with discharging pollution into

the Monongahela River, in violation of the Rivers and Harbors Act, 33 U.S.C. § 407. At trial, the

defendant sought to present evidence that its allegedly criminal acts had been authorized by Army

regulations and the federal government's long-term interpretation of the statute. The district court

prohibited the defendant from introducing the evidence and refused to instruct a jury that the

defendant should be acquitted if his actions resulted from affirmative government representations

that its acts were lawful.

          Citing due process grounds, the Third Circuit reversed on appeal. The Court wrote that the

concept of fair play is implicit in our basic notions of what is meant by due process of law. In this

regard, an individual or corporation should not be held criminally responsible for activities which

could not reasonably have been anticipated to be illegal based on 70 years of consistent


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        Case 1:21-cr-00670-CJN Document 58 Filed 04/15/22 Page 42 of 62




government interpretation and subsequent behavior. Id. 461 F.2d at 479. Because the defendant

had not been allowed to present the evidence nor had the jury been instructed on the entrapment

by estoppel defense, the Court of Appeals granted a new trial. Id.

       The Supreme Court agreed with the Third Circuit’s statement of the law, holding “it was

error for the District Court to refuse to permit PICCO to present evidence in support of its claim

that it had been affirmatively misled into believing that the discharges in question were not a

violation of the statute.” United States v. Pennsylvania Indus. Chem. Corp., 411 U.S. 655, 675

(1973) (“PICCO”). The Court also held that the defense applies where there is reliance on a

government agency’s position or interpretation of the law it is charged with enforcing or on the

enforcing agency’s behavior with respect to the activity at issue and that reliance was reasonable

under the circumstances. Id. In PICCO, there was no direct inquiry by the defendants to the agency

nor any communication from the agency directly to the defendants. The decision in PICCO

prohibits this prosecution on due process grounds. Mr. Bannon was entitled to rely on the former

President’s invocation and directive and on the OLC Opinions and he reasonably did so. His

prosecution is barred by the Due Process Clause, based on the defense of entrapment by estoppel.

   2. Public Authority

       The defenses of entrapment by estoppel and public authority are closely related, with some

courts questioning the meaningfulness of the difference between the two. See e.g., United States

v. Baker, 438 F.3d 749, 753 (7th Cir. 2006). Nevertheless, there are some subtle differences. Mr.

Bannon raises the defenses of actual authority and apparent authority in addition to the defense of

entrapment by estoppel.



       A. Actual Authority



                                                34
         Case 1:21-cr-00670-CJN Document 58 Filed 04/15/22 Page 43 of 62




        It is beyond dispute that the President – and therefore OLC – has the authority to interpret

laws. 38 Further, the President has, pursuant to the Oath Clause and the Take Care Clause, the power

to “decline to enforce a statute that he views as unconstitutional.” 39 The defense of actual authority

is consistent with the common law defense’s recognition that actions taken “under color of public

authority” are lawful and cannot be prosecuted criminally. 40 It requires reasonable reliance on the

actual authority of an official with respect to the conduct at issue. United States v. Baptista-

Rodriguez, 17 F.3d 1354, 1368 n.18 (11th Cir. 1994).

        Mr. Bannon received actual authority in this case for his non-compliance with the subpoena

directly from former President Trump’s invocation of executive privilege and corresponding

directive to Mr. Bannon, that Mr. Bannon must honor that invocation with respect to the subpoena.

The OLC Opinions referred to herein also provided a source of the actual authority Mr. Bannon

received to the effect that the subpoena was unlawful and invalid, in light of the committee’s rules

(and refusal to permit a privilege holder representative to attend the deposition), that it would be

unlawful for a congressional committee to try to compel production or testimony from a person so

situated once executive privilege was invoked, and that it would be unconstitutional for a person

so situated to be criminally prosecuted under the statute charged in this case. Mr. Bannon

reasonably relied on both sources of actual authority, both the former President and the OLC

Opinions carried with them actual authority in the situation at issue. Mr. Bannon cannot be


38See [Ex. V] Frank H. Easterbrook, Presidential Review, 40 Case W. Res. L. Rev. 905, 905 (1990)
(“Executive power to interpret the law is so well established, and so important to successful operation of
government, that courts frequently accept the executive branch’s view of a statute as conclusive.”).
39[Ex. W] Memorandum from Walter Dellinger, Assistant Att’y Gen. to Abner J. Mikva, Counsel to the
President (Nov. 2, 1994). https://www.justice.gov/sites/default/files/olc/opinions/1994/11/31/op-olc-v018-
p0199_0.pdf See Id. at ¶ 6, concluding that the President has an “enhanced responsibility to resist
unconstitutional provisions that encroach upon the constitutional powers of the Presidency.”

40See United States v. Pitt, 193 F.3d 751, 756-758 (3d Cir. 1999); United States v. Fulcher, 250 F.3d 244,
254 n.4 (4th Cir. 2001); United States v. Reyes-Vasquez, 905 F.2d 1497, 1500 n.5 (11th Cir. 1990).

                                                   35
         Case 1:21-cr-00670-CJN Document 58 Filed 04/15/22 Page 44 of 62




criminally prosecuted on the undisputed operative facts in this case, based on the due process-

based defense of actual authority.

        B. Apparent Authority

        This Circuit’s landmark decision in United States v. Barker, 546 F.2d 940 (D.C. Cir. 1976)

also supports the dismissal of the indictment in this case on due process grounds. 41

        In Barker, the defenses of entrapment by estoppel and apparent authority truly converged.

The defendants purportedly believed that their Watergate-era warrantless burglary of psychiatrist

Daniel Ellsberg’s office was authorized by their C.I.A. recruiter E. Howard Hunt, who they

believed had the authority to authorize such conduct (apparent authority) and they further relied

on a policy espoused by the President and put forward by the Attorney General as official policy

for at least forty years. Barker, 546 F.2d at 951-954. The defense of apparent authority requires a

reasonable belief (whether correct or mistaken) that the source for the information relied upon had

the authority to license the conduct at issue and did so. Barker, 546 F.2d at 947-948, 954-957;

Model Penal Code § 2.04(3)(b). 42



41To the extent the Government has attempted to cast some question on the continued viability of the
landmark Barker decision by quoting out of context a line in United States v. Baird, 29 F.3d 647, 654 (D.C.
Cir. 1994) – See Doc. 43 at 7 n.3 (“The D.C. Circuit has since noted that ‘[t]he exact precedential effect of
Judge Merhige’s opinion is unclear’”) – any such suggestion is misleading. Judge Merhige wrote a
concurring opinion in Barker that would have narrowed the availability of the defense, from Judge Wilkey’s
broader formulation. Barker, 546 F.2d at 955. The instant case qualifies for the defenses of entrapment by
estoppel and public authority under either judge’s formulation of the defenses and their underlying
principles. Moreover, the Court in Baird, in large part based on its reliance on Barker, reversed the
defendant’s conviction, expressly because the trial court had excluded testimony that would have included
the position of the agency’s legal and contracting officers, as transmitted to the defendant’s superior officer,
concerning the legality of the conduct for which the defendant was charged and convicted. Baird, like
Barker, certainly supports Mr. Bannon’s position in the instant case.

42 Judge Merhige’s Opinion specifically mentions “opinions of the Attorney General” as among the
“strongest” bodies sources for authority, consistent with the policy fostered by the defense of apparent
authority – obedience to the decisions issued by bodies put in “positions of prominence in the governing
structure.” Barker, 546 F.2d at 956.


                                                      36
            Case 1:21-cr-00670-CJN Document 58 Filed 04/15/22 Page 45 of 62




           Mr. Bannon was entitled as a matter of law to reasonably rely, as he did, on the directive

from former President Trump when he invoked Executive Privilege and on the OLC Opinions

(“the Attorney General’s Lawyer”) 43 described herein in proceeding as he did with respect to the

congressional committee subpoena at issue and to reasonably believe that those two sources had

the authority to license his conduct. He acted at all times consistently with the positions directed

by those two sources of apparent authority as he reasonably believed their policies to provide.

       3. The Government Should Be Estopped From Prosecuting This Case.

           Mr. Bannon respectfully submits that, while the leading entrapment by estoppel cases do

not spend a great deal of time focused on the estoppel implications of the decisions, the instant

case presents the perfect vehicle through which this Court should order the Government estopped

from pursuing this prosecution, based on the long line of OLC Opinions referenced herein, going

back decades in their consistency for the propositions relied upon herein. Separate from the

doctrine of entrapment by estoppel, Mr. Bannon asks the Court to find that as a matter of due

process, the Government is estopped from prosecuting this case because it is irreconcilable with

the legally binding policy and practice of this same prosecuting agency. Mr. Bannon respectfully

submits that the principles underlying equitable estoppel, judicial estoppel, estoppel by opinion,

and estoppel by selective non-enforcement (including the principle of desuetude) should bar this

prosecution or if the Court rejects applying criminal estoppel, the Court permit evidentiary

consequences from the Government’s inconsistent and truly irreconcilable positions between its

long-established policy and the pursuit of this prosecution. 44


43   [Ex. X] Douglas W. Kmiec, OLC’s Opinion Writing Function: The Legal Adhesive for a Unitary Executive,
15 Cardozo L. Rev. 337 (1993).
44
  See e.g., [Ex. Y] Applying Estoppel Principles in Criminal Cases, 78 Yale L.J. 1046 (1969);
Anne Bowen Poulin, [Ex. Z] Prosecutorial Inconsistency, Estoppel, and Due Process: Making the
Prosecution Get Its Story Straight, 18 Cal. L. Rev. 1423 (2001).
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            Case 1:21-cr-00670-CJN Document 58 Filed 04/15/22 Page 46 of 62




           In the instant case, the full circle is closed. It was the “State,” through the former President

of the United States, that told Mr. Bannon that executive privilege had been invoked and that he

was legally required to honor such invocation with respect to the subpoena and it was the “State,”

through the Department of Justice – the exact same federal agency now prosecuting Mr. Bannon 45

- whose official policy provided that, under the circumstances presented, (1) the subpoena was

legally invalid, (2) the invocation of the privilege was the former President’s sole prerogative and

not Congress’s, (3) the invocation was presumptively valid, (4) it applies to former employees and

outside consultants, (5) that bringing a criminal prosecution against a person in Mr. Bannon’s

situation would violate the separation of powers doctrine and would be unlawful, and (6) that, for

a variety of reasons, a person so situated cannot be prosecuted criminally under 2 U.S.C. § 192 as

a matter of law. As all of the authority cited herein establishes, prosecuting Mr. Bannon under this

statute, in light of the legally binding authoritative OLC Opinions and related writings and the

former President’s invocation of Executive Privilege, is prohibited as a matter of fundamental

fairness and due process of law. The defenses of actual and apparent public authority and

entrapment by estoppel compel the dismissal of the indictment in this case.

     IV.       2 U.S.C. § 192 is Unconstitutional As Applied to the Facts of this Case.

           Mr. Bannon respectfully moves to dismiss the indictment in this case on the ground that 2

U.S.C. § 192 is unconstitutional as applied to Mr. Bannon and the facts of this case. 46




 See e.g., United States v. Viola, 2017 U.S. Dist. LEXIS 117055, *7-*9; 2017 WL 3175930 (W.D.
45

La., July 26, 2017) (emphasizing the relevance of reliance on a federal authoritative source for the
defense of entrapment by estoppel to apply to a federally charged crime).
46 When mounting a facial challenge to a statute, a movant must, of course, establish “no set of
circumstances exists under which the Act would be valid.” United States v. Salerno, 481 U.S. 739, 745
(1987); Wash. State Grange v. Wash. State Republican Party, 552 U.S. 442, 449-451 (2008). An as-applied
challenge, raised here, asks a court simply to find the statute at issue unconstitutional as applied to the facts
and the party before the court. See e.g., City of Chicago v. Morales, 527 U.S. 41, 74-81 (1999) (Scalia, J.,

                                                       38
         Case 1:21-cr-00670-CJN Document 58 Filed 04/15/22 Page 47 of 62




2 U.S.C. § 192 provides as follows:

        Every person who having been summoned as a witness by the authority of either
        House of Congress to give testimony or to produce papers upon any matter under
        inquiry before either House, or any joint committee established by a joint or
        concurrent resolution of the two Houses of Congress, or any committee of either
        House of Congress, willfully makes default, or who, having appeared, refuses to
        answer any question pertinent to the question under inquiry, shall be deemed guilty
        of a misdemeanor, punishable by a fine of not more than $1,000 nor less than $100
        and imprisonment in a common jail for not less than one month nor more than
        twelve months.

2 U.S.C. § 192. (emphasis added).

        On April 6, 2022, the Court unqualifiedly granted [Doc. 49] the Government’s Motion in

Limine to Exclude Evidence or Argument Relating to Good-Faith Reliance on Law or Advice of

Counsel [Docs. 29; 35]. The impact of the Court’s decision is that all that needs to be proven to

establish a violation of the statute is that the defendant received a valid subpoena and did not

comply with it.      The reason for the non-compliance is legally irrelevant, according to the

Government’s motion and the Court’s decision, unless the non-compliance was a function of an

accident. No bad purpose or motive is required; nor does the Government need to prove even that

the defendant had some awareness that his conduct was wrong or in violation of the law. Id. 47

        This, the Court concluded, is required by the decision in United States v. Licavoli, 294 F.2d

207 (D.C. Cir. 1961), and it applies to all defendants and circumstances surrounding the failure to



Dissenting) (explaining the difference between facial and as-applied challenges, favoring the latter, while
suggesting the former should be impermissible); see also, Richard H. Fallon, Jr., As-Applied and Facial
Challenges and Third-Party Standing, 113 Harv. L. Rev. 1321, 1328 (2000) (“[a]s-applied challenges are
the basic building blocks of constitutional adjudication.”).
47 The rejection of a mens rea that includes some consciousness of the wrongfulness of the conduct, in favor

of the standard adopted by the Court, has come under sustained criticism for many years in especially
compelling terms where a term of incarceration is the possible consequence of conviction, with
commentators asserting that the error in permitting the same is of constitutional dimensions. See e.g., H.
Packer, Mens Rea and the Supreme Court, 1962 Sup. Ct. Rev. 107, 147-152 (1962); Dubin, Mens Rea
Reconsidered: A Plea for a Due Process of Criminal Responsibility, 18 Stan. L. Rev. 322 (1966); Note,
Criminal Liability Without Fault: A Philosophical Perspective, 75 Colm. L. Rev. 1517 (1975). This also
supports a dismissal.

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         Case 1:21-cr-00670-CJN Document 58 Filed 04/15/22 Page 48 of 62




comply with a congressional committee. [Docs. 29, 35, 49]. Based on the Court’s Order, a

defendant who fails to comply on a whim or for no reason at all, is legally situated vis a vis criminal

liability under the statute, identically to the defendant who (1) fails to comply because his lawyer

told him the subpoena was invalid, (2) fails to comply because he was directed not to comply in

connection with the invocation of Executive Privilege by a former President of the United States

or (3) fails to comply in reliance on and consistent with the official, legally binding position of the

Department of Justice. Indeed, the Government expressly argued in its motion that privilege

provides no excuse for non-compliance under the applicable definition of “willfully.” [Doc. 29 at

1; 8]. The failure to differentiate between the invocation of Executive Privilege and other situations

vis a vis the application of this statute is completely contrary to the DOJ’s long-standing official

policy on this subject. 48

        The Court held that the reason or motivation for not complying is simply legally irrelevant

under this criminal statute which carries a mandatory sentence of incarceration upon conviction.

[Doc. 29 at 1, 8; 3/16/22 Hearing Tr. at 4, 5, 6, 7, 8; Doc. 49]. 49


48[Ex. J] The DOJ has made clear its view that the invocation of Executive Privilege stands alone and is
different from a subpoena that triggers any other privilege, because of the separation of powers issues it
implicates. Theodore B. Olson, Prosecution for Contempt of Congress of an Executive Branch Official
Who Has Asserted a Claim of Executive Privilege (OLC Opinion May 30, 1984) at 131, 134. (“Olson
Memo”),https://www.justice.gov/sites/default/files/olc/opinions/1984/05/31/op-olc-v008-
p0101_0.pdf#:~:text=As%20a%20matter%20of%20statutory%20construction%20and%20separation,of
%20executive%20privilege%20before%20a%20committee%20of%20Congress. See also, [Ex.
AA] Rex E. Lee, Executive Privilege, Congressional Subpoena Power, and Judicial Review: Three
Branches, Three Powers, and Some Relationships, 1978 B.Y.U. L. Rev. 231, 259 (1978) (suggesting that
the §§ 192 & 194 should not apply where Executive Privilege is invoked).
49The Government’s motion expressly asserts the following: [T]he Defendant’s excuses for non-compliance
are without merit, and his erroneous reliance on privileges and purported advice of counsel is no defense to
contempt. The deliberate failure to comply with a congressional subpoena – regardless of motivation –
constitutes the crime of contempt.” [Doc. 29 at 1] (emphasis added). The Government’s motion, again
granted by the Court without qualification, goes even further than just referring to an advice of counsel
defense (and jury instruction). The Government urged the Court to take the following extraordinary
position:


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         Case 1:21-cr-00670-CJN Document 58 Filed 04/15/22 Page 49 of 62




        Based on the Court’s Order construing the statute in this regard, 2 U.S.C. § 192 is

unconstitutional as applied to Mr. Bannon and the circumstances of this case because it (1) violates

the separation of powers doctrine; (2) is unconstitutionally overbroad, criminalizing lawful

conduct (e.g., non-compliance based on the invocation of Executive Privilege and reliance on the

OLC Opinions) within its ambit; (3) is unconstitutionally void for vagueness (e.g. when considered

with the DOJ’s official position as reflected in the OLC Opinions, it fails adequately to give notice




        “But even if his contempt were based on an erroneous but good-faith belief that he had a
        valid legal excuse for ignoring the subpoena’s demands, whether by his own determination
        or his attorney’s, it is no defense. All evidence and argument related to good-faith reliance
        on the law or an attorney’s advice should therefore be excluded at trial.” [Doc. 29 at 8].

At oral argument, the Government reiterated its position that, other than an accident, there is no legal
justification for failing to comply with a congressional subpoena. Government counsel put it as follows:
“So contempt of Congress for willful default is about whether or not you showed up; that is whether to
produce records or to testify.” [3/16/22 Hearing Tr. at 4] (emphasis added). “So if a defendant makes a
deliberate and intentional decision not to appear, he has the requisite intent for contempt; that is, does the
defendant know he’s been summonsed and does he intentionally, knowing that, not show up? That is all
that is required.” [Id. at 5] (emphasis added). “And what the Supreme Court made clear is that that
intentional choice not to comply, that is inherently a criminal choice. There is no innocent way that
someone decides they are just not going to comply with the statute. [Id. at 6] (emphasis added). “And
that’s where contempt of Congress draws (sic), between someone who accidentally does not comply with
their obligations, and someone who makes an intentional and deliberate choice not to do so.” [Id. at 7].
Finally, in response to the Court’s direct question as to what the Government needs to prove in this case on
mens rea, the Government summed up its position as follows:

        “The government would need to demonstrate that the defendant knew he had been
        summonsed; so that means, knew that Congress was requiring him to show up and produce
        records on October 7th; and that Congress was requiring him to show up and testify on
        October 14th. And that he knew that that was the obligation; and that despite knowing that,
        he decided not to comply. He has to have – the government has to prove that he was given
        a clear choice from Congress. Either show up or you are in contempt. That would be all
        that the government is required to show there.” … “And it’s no different from in the
        contempt of court context. A witness gets a summons to appear before a grand jury or to
        appear for testimony in trial. And if they deliberately decide, I will not appear, they are
        subject to prosecution for contempt. It’s the same principle in the contempt of Congress.”
        [Id. at 8].


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         Case 1:21-cr-00670-CJN Document 58 Filed 04/15/22 Page 50 of 62




as to what conduct is subject to criminal prosecution); (4) unconstitutionally prohibits Mr. Bannon

from telling the entire story of his case. 50

        A. Statutory Interpretation Problems

        There is a fundamental statutory interpretation problem with such a reading, when one

considers the associated statute found in 2 U.S.C. § 193 which provides as follows:

        No witness is privileged to refuse to testify to any fact, or to produce any paper,
        respecting which he shall be examined by either House of Congress, or by any joint
        committee established by a joint or concurrent resolution of the two Houses of
        Congress, or by any committee of either House, upon the ground that his testimony
        to such fact or his production of such paper may tend to disgrace him or otherwise
        render him infamous.

         Construing the term “willfully” as used in § 192, the statute to which § 193 refers, as this

Court has - making any reason for the failure to comply and any mens rea, other than that the

witness “deliberately” and “intentionally” failed to comply, and thereby making a claimed

justification of privilege for the failure to comply legally irrelevant, renders § 193 nothing more

than surplusage. As this Court has noted, “[W]hen possible, of course, the Court must give effect

to every word in a statute.” United States v. Miller, 2022 U.S. Dist. LEXIS 45696, *16-*17 (D.

D.C., March 7, 2022) (Nichols, J.), citing, Setser v. United States, 566 U.S. 231, 239 (2012). There

would be no reason for Congress to have added § 193, if the invocation of privilege, like any other

reason or motivation for the failure to comply, were legally irrelevant. “Willfully makes default,”

we already have been told, is not concerned with why the witness did not comply – what is in his

mind as to why he did not have to comply; so there would be no need for Congress to identify

what kind of privilege will not avail the witness.


50 See, e.g., United States v. Nixon, 418 U.S. 683, 709 (1974) (“the need to develop all relevant facts in the
adversary system is both fundamental and comprehensive. The ends of criminal justice would be defeated
if judgments were to be founded on a partial or speculative presentation of the facts. The very integrity of
the judicial system depends on full disclosure of all the facts, within the framework of the rules of
evidence.”); United States v. Nobles, 422 U.S. 225, 232 (1975).

                                                     42
        Case 1:21-cr-00670-CJN Document 58 Filed 04/15/22 Page 51 of 62




       If, on the other hand, § 193 were intended to serve some legally cognizable purpose, then

the Court’s construction of § 192 would fail under fundamental expressio unius analysis, with its

identification of one particular type of privilege – a claim that compliance would “tend to disgrace”

or otherwise render the witness “infamous” – as being inapplicable, implying that other privileges,

like executive privilege, would be a privilege that would permit the witness to refuse to testify or

produce a document. The constitutional infirmities of 2 U.S.C. § 192, though, as applied to Mr.

Bannon and the circumstances, where Executive Privilege is invoked and is relied on for

noncompliance, go well beyond matters of statutory interpretation.

       B. 2 U.S.C. § 192 As Applied Violates the Separation of Powers Doctrine,
          Is Unconstitutionally Over Broad, And Is Void For Vagueness.          .


   1. The Statute As Applied Violates The Constitutional Separation Of Powers Doctrine.

       The Court’s decision makes the invocation of Executive Privilege by the former President

of the United States and the associated directive to Mr. Bannon not to comply with the subpoena,

based on executive privilege legally irrelevant. It gives Congress a veto over a President’s

invocation of privilege. That position cannot be reconciled with the United States Supreme Court’s

holding in Trump v. Mazars USA, LLP, 140 S. Ct. 2019, *2032; 207 L. Ed. 2d 951 (2020) that

executive privilege absolutely applies in the context of a congressional subpoena and its invocation

provides a basis for noncompliance with a congressional subpoena. The validity of the invocation

surely can be challenged in a civil enforcement proceeding; but it is presumed to be valid when

made and provides a lawfully recognized basis for the witness’s failure, indeed, inability, to

comply. Id. The statute as applied also violates the separation of powers doctrine by directly

infringing on the President’s right to determine which communications he deems to be

appropriately covered by executive privilege. Doing so is contrary to established constitutional



                                                 43
            Case 1:21-cr-00670-CJN Document 58 Filed 04/15/22 Page 52 of 62




principles that a statute that “disrupts the proper balance between the coordinate branches” is

unconstitutional and that the President’s invocation of executive privilege is presumptively valid

and must be honored by Congress. 51 As the Olson Memo provides, subjecting executive officials

to prosecution for criminal contempt when they are carrying out the President’s claim of Executive

Privilege, “would significantly burden and immeasurably impair the President’s ability to fulfill

his constitutional duties.” Olson Memo at 134.

           2 U.S.C. § 194 is unconstitutional as applied because its mandatory terms, especially where

Executive Privilege is invoked, violate the separations of powers doctrine by encroaching on

prosecutorial decisions reposited under the Constitution exclusively in the Executive branch. 52

Members of the Committee have made clear their belief that the prosecution is mandatory under

the statute. Bess Levin, January 6 Panel Politely Requests That Merrick Garland Do His F—king

Job, VANITY FAIR (Mar. 29, 2022), ( https://www.vanityfair.com/news/2022/03/january-6-

committee-merrick-garland-donald-trump.             That renders the statute unconstitutional under

Chadha.

       2. The Statute As Applied Is Unconstitutionally Overbroad And Void For Vagueness.

           The “void-for-vagueness doctrine requires that a penal statute define the criminal offense

with sufficient definiteness that ordinary people can understand what conduct is prohibited and in

a manner that does not encourage arbitrary and discriminatory enforcement.” 53 The “doctrine

prohibiting the enforcement of vague laws rests on the twin constitutional pillars of due process



51Nixon v. Admin. of General Services, 433 U.S. 425, 443 (1977); United States v. Nixon, 418 U.S. 683,
708 (1974).

52   See, e.g., United States v. Brown, 381 U.S. 437, 443 (1965); INS v. Chadha, 462 U.S. 917 (1983).

53
     Kolender v. Lawson, 461 U.S. 352, 357 (1983).


                                                      44
            Case 1:21-cr-00670-CJN Document 58 Filed 04/15/22 Page 53 of 62




and separation of powers.” United States v. Davis, 139 S. Ct. 2319, 2325 (2019). “Vague laws

contravene the ‘first essential of due process of law’ that statutes must give people ‘of common

intelligence’ fair notice of what the law demands of them.” Id. “Vague laws also undermine the

Constitution’s separation of powers and the democratic self-governance it aims to protect.”

Id. (citations omitted). “No one may be required at peril of life, liberty or property to speculate as

to the meaning of penal statutes. 54 Issues, like those here, with the mens rea element of the statute,

exacerbate vagueness problems. 55 Vagueness concerns are intensified where a statute imposes

criminal penalties. 56 A statute is unconstitutionally overbroad where, as here, it risks including

within its prohibition fully lawful conduct undertaken in good-faith or because of the uncertainty

of the definition of material terms (like “willfully” or “default”). 57

           2 U.S.C. § 192, and specifically the phrase “willfully makes default” as this Court has

interpreted it and has the elements of the offense charged have been characterized, is void for

vagueness and overbroad, as applied to the instant case or any case in which executive privilege is

invoked, especially in light of the OLC Opinions referred to in this motion to dismiss. The

Government’s position on the elements of the crime and that any reason for noncompliance, other

than accident, is legally irrelevant, adopted by the Court in unqualifiedly granting its motion in

limine [Docs. 29; 35; 49], is directly at odds with long-established authority that the invocation of




54
     Lanzetta v. New Jersey, 306 U.S. 451, 453 (1939).

55
  Calautti v. Franklin, 439 U.S. 379, 395 (1979) (“Because of the absence of a scienter requirement
in the provision … the statute is little more than a ‘trap for those who act in good faith.’”).

56
  Vill. of Hoffman Estates v. Flipside, Hoffman Estates, Inc., 455 U.S. 489, 498-99 (1982) (“The
Court has … expressed greater tolerance of enactments with civil rather than criminal penalties
because the consequences of imprecision are qualitatively less severe”).
57
     See, e.g., United States v. Stevens, 569 U.S. 460, 473 (2010)

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        Case 1:21-cr-00670-CJN Document 58 Filed 04/15/22 Page 54 of 62




executive privilege must be permitted as a legally cognizable reason for non-compliance. See e.g.,

Mazars, 140 S. Ct. at 2032.

       Moreover, in light of the legally binding, published, authoritative position of the

Department of Justice, reflected in the OLC Opinions cited herein that the criminal statute does

not apply and cannot be applied to a current or former executive branch employee when executive

privilege is invoked, the statute, as applied, is void for vagueness; for it does not give

constitutionally sufficient notice of what conduct will expose a person so situated to criminal

sanction.

       Statements by the Government, through its agents or officials, concerning criminal

sanctions, which are contradictory or so vague and undefined “as to afford no fair warning as to

what might transgress (the statute)” render the statute unconstitutionally vague, much in the same

way contradictory statements within a criminal statute render the statute unconstitutional. Raley

v. State of Ohio, 360 U.S. 423, 438 (1959). In the instant case, the OLC Opinions go well beyond

mere “contradictory” or “vague” statements – they absolutely give full license, indeed they

command, the very course of conduct Mr. Bannon took in response to the subpoena (and that was

ordered by the invocation of Executive privilege); yet now he faces criminal prosecution for

actions consistent with published DOJ policy. This renders the statute, at best, void for vagueness.

       The statute is unconstitutionally overbroad as applied because, as the Court has defined

“willfully makes default” and the elements of the crime, it unconstitutionally includes within its

ambit, fully legal and constitutionally protected conduct – noncompliance based on the invocation

of Executive Privilege and reliance on the OLC Opinions. Moreover, the Court’s decision, granting

the Government’s motion, which included a prohibition on the Defendant’s reliance “on law” is




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         Case 1:21-cr-00670-CJN Document 58 Filed 04/15/22 Page 55 of 62




irreconcilable with the well settled principle that in the criminal setting, all constitutional and other

applicable defenses must be afforded the Defendant. 58

        The statute also is void for vagueness because the key phrase “willfully makes default”

gives insufficient notice as to what constitutes a “default” in light of the long line of authority that

raises to a constitutional level the imperative that Congress and the Executive branches must work

toward an accommodation in situations like the one presented here. 59 Mr. Bannon, through Mr.

Costello, went to extraordinary lengths to try to come to an accommodation with the Committee.

[Doc. 30-1, ¶¶ 13-20]. Among other steps, he advised the Committee that Mr. Bannon would

testify if the Committee worked out the executive privilege issue with former President Trump or

if they went before a judge and a judge ordered Mr. Bannon to comply, after considering the

executive privilege claim. Mr. Costello asked the Committee for a one-week adjournment to

consider the impact of the lawsuit former President Trump filed against the Committee, involving

issues of executive privilege, with the exact same issue present in this case. 60

        On October 18, 2021, notwithstanding his conclusion based on the OLC Opinions that the

subpoena was unlawful and invalid, in a further effort to accommodate, Mr. Costello drafted a



58United States v. House of Representatives, 556 F. Supp. 150, 152-153 (D.D.C. 1983); Barenblatt v. United
States, 360 U.S. 109 (1959); Ansara v. Eastland, 442 F.2d 751 (D.C.Cir.1971); Tobin v. United States, 306
F.2d 270, 276 (D.C.Cir.1962).
59See e.g., United States v. AT&T, 567 F.2d 121, 127 (D.C. Cir. 1977) (Congress and Executive Branch
“should take cognizance of an implicit constitutional mandate to seek optimal accommodation” to resolve
disputes).

60In the lawsuit former President Trump filed, a primary issue was whether a current President’s decision
to deny executive privilege can override a former President’s invocation of executive privilege. Trump v.
Thompson, 20 F.4th 10 (D.C. Cir. 2021). In the instant case on October 18, 2021, after the return dates for
the subpoena had passed, a representative of President Biden wrote to Mr. Costello, purporting to override
former President Trump’s invocation of executive privilege [Ex. GG] [U.S. 000313]. That same day, Mr.
Costello asked the committee for a one-week extension to allow him to consider the matter and the impact
of the lawsuit. The committee summarily denied the request or any accommodation and set the following
day for a vote on a contempt referral.

                                                    47
           Case 1:21-cr-00670-CJN Document 58 Filed 04/15/22 Page 56 of 62




letter to the committee identifying categories of materials in the subpoena for which Mr. Bannon

clearly had no responsive materials or testimony to offer. [U.S. 000992-000993]. The committee’s

response to Mr. Costello’s accommodation efforts and request for a one-week extension of time to

consider the Trump lawsuit and the executive privilege issue, was to set a committee vote on

contempt the following day. The Select Committee made clear that they had no interest in an

accommodation with Mr. Bannon (in sharp contrast to other witnesses who, for example, upon

information and belief, the Select Committee permitted a privilege holder representative to appear

at a deposition, and for whom extensions of time were granted, etc.). Under these circumstances

and the institutional interests in working toward an accommodation, the term “willfully makes

default” is unconstitutionally void for vagueness and the indictment should be dismissed based on

the Select Committee’s refusal to work toward any accommodation.

          For the foregoing reasons, this statute is unconstitutional as applied and the indictment

must be dismissed.

     V.      Prosecutorial Over-Reaching Requires Dismissal Of The Indictment

     Counsel for the Government improperly targeted Mr. Costello – counsel for Mr. Bannon –

during the grand jury investigation in a manner that drove a wedge between attorney and client.

Moreover, counsel for the Government misled the grand jury on key evidence. These errors require

the dismissal of the Indictment pursuant to Fed. R. Crim. P. 12(b)(3)(A)(v).

          A. Targeting Mr. Bannon’s Counsel Requires Dismissal.

          On October 21, 2021, the House made a contempt referral involving Mr. Bannon to DOJ.61

[US-000459-504]. On October 25, 2021, Mr. Costello – counsel for Mr. Bannon – emailed AUSA


61The defense has moved to compel disclosure of Government efforts to obtain the telephone and email
records of Mr. Costello, Mr. Bannon’s attorney. [Doc. 26]. Certain documents have been provided, but the
motion remains under advisement. Nonetheless, we move for dismissal of the Indictment based on the
Government’s conduct – and intend to supplement this motion if additional information is forthcoming.

                                                  48
           Case 1:21-cr-00670-CJN Document 58 Filed 04/15/22 Page 57 of 62




Cooney to initiate efforts to seek a declination of any criminal charges. Mr. Costello identified

himself as the attorney for Mr. Bannon. [US-001136]. On November 1, 2021, Mr. Costello sent

AUSA Cooney a legal memorandum outlining the reasons for declination. A video conference was

held on November 3, 2021, so that Mr. Costello and counsel for the Government could further

discuss the matter. Mr. Costello believed – as is customary in criminal cases – that the back-and-

forth between himself and counsel for the Government was a good faith effort to persuade DOJ

not to prosecute his client, Mr. Bannon.

          However, Government counsel misled Mr. Costello. They suggested to Mr. Costello that

they were interested in hearing his arguments on declination. However, at the same time they were

improperly using the power of the grand jury to collect evidence about Mr. Costello, in the hope

that they could use it against his client Mr. Bannon. The very day of the initial contact with the

U.S. Attorney’s Office, October 25, 2021, the Government began issuing grand jury subpoenas to

third party providers seeking Mr. Costello’s phone and email records. Some of these grand jury

subpoenas sought records dating to September 1, 2021 – 22 days before the Select Committee

issued its subpoena. 62 This was improper. Section 9-13.410(A) of the U.S. Attorneys’ Manual

requires main DOJ approval in such circumstances. No approval was obtained by counsel for the

Government here. In addition, counsel for the Government obtained a 2703(d) Order from a

magistrate judge, seeking additional records of Mr. Costello. 63




62
     And the records obtained via the § 2703(d) Order date back to March 5, 2021. [US-001151-001249].

63
  Incredibly, counsel for the Government represented to the Court that these records were necessary to the
investigation, and that some grand jury subpoenas were for records of “other” Bob Costellos. Their
purported reason has no basis in fact as they already knew that there was never a claim that Mr. Bannon did
not accept service of the subpoena.

                                                    49
        Case 1:21-cr-00670-CJN Document 58 Filed 04/15/22 Page 58 of 62




       Moreover, counsel for the Government misled Mr. Costello by staging two surreptitious

“interviews” of him, all the while suggesting to him that he was engaged on advocacy on behalf

of his client. There was never any intention to consider declination – the issuance of the first

subpoena before Mr. Costello ever met with anyone from the U.S. Attorney’s Office established

that. During videoconferences on November 3 and 8, 2021, counsel for the Government had FBI

agents listen in and later draft FBI 302 “interview reports” capturing statements made by Mr.

Costello. Finally, counsel for the Government requested, and Mr. Costello provided (on November

4, 2021), more than 100 pages of documents – including attorney work product created during the

representation of Mr. Bannon – without divulging that Mr. Costello was being treated by the

Government as a witness against Mr. Bannon, not his counsel.

       This Court can, in its supervisory power, dismiss the Indictment as a sanction for the

Government’s improper conduct. See, e.g., United States v. Marshank, 777 F. Supp. 1507, 1524

(N.D. Cal. 1991); United States v. Batres-Santolino, 521 F.Supp. 744, 750-53 (N.D. Cal. 1981).

Dismissal is appropriate where, as here, the improper tactics by the Government drove a wedge

between a defendant and his attorney. United States v. Marshank, 777 F. Supp. 1507, 1523 (N.D.

Cal. 1991) (doctrine permitting dismissal of indictment on basis of outrageous government

misconduct is grounded in due process clause of Fifth Amendment and is therefore applicable to

cases where government interference in attorney-client relationship is so shocking to universal

sense of justice that it violates due process); U.S. v. Schell, 775 F.2d 559 (4th Cir. 1985).   In

determining whether governmental interference into an attorney-client relationship is outrageous

enough to violate due process courts analyze: (1) the government's objective awareness of ongoing,

personal attorney-client relationship between its informant and defendant; (2) whether the

government’s intrusion into that relationship was deliberate; and (3) actual and substantial


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        Case 1:21-cr-00670-CJN Document 58 Filed 04/15/22 Page 59 of 62




prejudice to defendant. United States v. Hsia, 81 F.Supp.2d 7, 19 (D.D.C. 2000); United States v.

Tobias, 662 F.2d 381, 387 (5th Cir. 1981) (whether outrageous government conduct exists depends

on the totality of the circumstances). Prejudice can “result from the prosecution’s use of

confidential information pertaining to the defense plans and strategy, from government influence

which destroys the defendant’s confidence in his attorney, and from other actions designed to give

the prosecution an unfair advantage at trial.” U.S. v. Irwin, 612 F.2d 1182, 1187 (9th Cir. 1980).

       The Government’s intrusion into the attorney-client relationship was knowing and

deliberate. The Government misled this Court and counsel with two different explanations for its

conduct, neither of which make any sense. Moreover, Mr. Bannon been prejudiced by it. First,

even if the toll and email records did not give the Government the contents of Mr. Costello’s

communications, having a record of who Mr. Costello spoke to and when provides significant

insight into the defense’s strategy and theory of the case that the Government would not have

access to but for their improper intrusion. In addition, the Government has obtained numerous

documents from Mr. Costello that would never have been turned over if he had been made aware

that he was viewed as a witness against Mr. Bannon, not Mr. Bannon’s advocate. The Government

contended that Mr. Costello was “a witness to the Defendant’s deliberate decision to ignore the

subpoena’s requirements.” [Doc. 31 at 12-13]. Then at oral argument they claimed they needed

the information to determine if Mr. Costello informed Mr. Bannon of the subpoena. Both claims

are false. Courts have held that due process is violated when the government turns the defendant’s

attorney into a prosecution witness. See United States v. Marshank, 777 F. Supp. 1507, 1524 (N.D.

Cal. 1991); U.S. v. Schell, 775 F.2d 559 (4th Cir. 1985). “Without question, the client’s right to a

fair trial, secured by the due process clauses of the fifth and fourteenth amendments, is

compromised under these circumstances.” Schell, 775 F.2d at 565.


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         Case 1:21-cr-00670-CJN Document 58 Filed 04/15/22 Page 60 of 62




        B. Misleading The Grand Jury Requires Dismissal.

        To return a valid indictment, a grand jury must consider evidence that satisfies all elements

of the offense charged. Stirone v. United States, 361 U.S. 212, 217 (1960). 2 U.S.C. § 192 includes

the element “willfully makes default.” The grand jury here was misled in three ways by counsel

for the Government, such that the grand jury could not have found evidence supporting that

element of the offense. 64

        First, the grand jury was misled about Mr. Bannon’s communication to the Select

Committee that President Trump has asserted executive privilege. In testimony on November 12,

2021, the Government’s sole grand jury witness – an FBI agent – suggested to the grand jury that

a witness could not validly assert executive privilege before the Select Committee unless the

President himself (or his representative) directly communicated the assertion of executive privilege

to the Select Committee. [Exhibit FF at 44] (filed under seal in accordance with Protective Order).

This was misleading testimony and Mr. Costello sent President Trump’s counsel’s letter invoking

executive privilege to the Select Committee.

        Second, the Government’s sole grand jury witness suggested to the grand jury that Mr.

Bannon never sought an adjournment of his deposition. See [Exhibit FF at 32-36] (filed under seal

in accordance with Protective Order). This was false testimony. A request for a one-week

adjournment was denied.

        Third, the Government’s sole grand jury witness suggested to the grand jury that Mr.

Bannon received (through his attorney Mr. Costello) a complete copy of the House deposition


64
  We also move to dismiss the Indictment on the ground that the grand jury was not properly instructed as
to the element of “willfully makes default” and the applicability of the advice of counsel doctrine. But given
the Court’s Order [Doc. 49] on the Government’s motion in limine on advice of counsel [Doc. 29], we do
not fully brief the issue again here.



                                                     52
          Case 1:21-cr-00670-CJN Document 58 Filed 04/15/22 Page 61 of 62




rules along with the subpoena. See [Exhibit FF at 20-21] (filed under seal in accordance with

Protective Order). This was false testimony as the General Counsel of the House, Doug Letter,

informed the FBI and all three prosecutors more than a week before the grand jury testimony. As

described in greater detail above, Mr. Bannon was not provided with section 3(b) of H. Res. 8,

117th Congress, even though the House Rules make explicit that “a witness shall not be required

to testify unless the witness has been provided with a copy of section 3(b) of H. Res. 8, 117th

Congress, and these regulations.” [Ex. C ] (Cong. Rec. H41 (Jan. 4, 2021)) (emphasis added).

         In short, the Indictment must be dismissed because the grand jury was misled about three

key issues that bear on whether Mr. Bannon “willfully [made] default.” See U.S. v. Ciambrone,

601 F.2d 616, 623 (2d Cir. 1979) (“[T]he prosecutor's right to exercise some discretion and

selectivity in the presentation of evidence to a grand jury does not entitle him to mislead it or to

engage in fundamentally unfair tactics before it.”); U.S. v. Lawson, 502 F. Supp. 158, 172 (D. Md.

1980) (“By intentionally and repeatedly asking misleading questions, while failing to disclose

known, exculpatory evidence on the issue of [defendants’] guilty knowledge, the prosecutor denied

defendants their constitutional right to an ‘unbiased’ grand jury.”).

   VI.      CONCLUSION

         Accordingly, Mr. Bannon respectfully requests that the Court grant this Motion and dismiss

the Indictment.

Dated: April 15, 2022                         Respectfully submitted,
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                                                 53
        Case 1:21-cr-00670-CJN Document 58 Filed 04/15/22 Page 62 of 62




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                                            Counsel for Defendant




                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 15th day of April 2022, a copy of the foregoing Motion

To Dismiss The Indictment was filed through the Court’s CM/ECF system and was served via

electronic delivery on counsel of record.

                                               /s/ M. Evan Corcoran
                                            M. Evan Corcoran (D.C. Bar No. 440027)




                                              54
